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                                        Appendix A: Statements of Opinion Not Actionable

                                                                                         State AG Response1
    State         Authority
    Alabama       Russell v. Wilson, 991 So. 2d 745, 748 (Ala. Civ. App. 2008)           Alabama is not currently represented in the
                  (Alabama) (“[A] buyer must demonstrate that a seller’s statements      State Attorneys General Coalition; therefore,
                  as to the condition of the property were representations of fact and   the States have no response as to their
                  not mere statements of opinion amounting to nothing more than          applicable law.
                  sales talk or mere puffery.”).
    Arizona       Cheatham v. ADT Corp., 161 F. Supp. 3d 815, 827 (D. Ariz. 2016)        Arizona does not dispute the doctrine of
                  (“a statement that is quantifiable, that makes a claim as to the       puffery, but rather its applicability to this case.
                  ‘specific or absolute characteristics of a product,’ may be an
                  actionable statement of fact while a general, subjective claim about
                  a product is non-actionable puffery.”).
    California    Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843, 854–55 (N.D.        California does not dispute the doctrine of
                  Cal. 2012) (“Generalized, vague, and unspecified assertions            puffery, but rather its applicability to this case.
                  constitute ‘mere puffery’ upon which a reasonable consumer could
                  not rely, and hence are not actionable.”).
    Colorado      Park Rise Homeowners Ass’n, Inc. v. Res. Const. Co., 155 P.3d          Colorado does not dispute the doctrine of
                  427, 436 (Colo. App. 2006) (under Colorado law, puffery                puffery, but rather its applicability to this case.
                  “represents a statement of opinion, the meaning of which would
                  depend on the speaker's frame of reference, such as mass produced
                  housing versus a custom built home. It is not a specific
                  representation of fact subject to measure or calibration.”)
    Connecticut   NetScout Systems, Inc. v. Gartner, Inc., 334 Conn. 396, 424 &          Connecticut does not dispute the doctrine of
                  n.15(2020) (explaining that “nonactionable puffery” is “an             puffery, but rather its applicability to this case.
                  exaggeration or overstatement expressed in broad, vague, and
                  commendatory language” and that “advertising that speaks


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  Idaho, Nebraska, New Jersey, and New York were not included in Defendants’ Appendix A, but maintain, similarly to the states listed
in the Appendix, that they are not disputing the doctrine of puffery, but rather its applicability to this case.

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           generically to caliber of defendant’ product is ‘classic puffery’ and
           incapable of being proved true or false”)


Delaware   Solow v. Aspect Res., LLC, 2004 WL 2694916, at *3 (Del. Ch. Oct.        Delaware does not dispute the doctrine of
           19, 2004) (“[T]o the extent that plaintiff is arguing that any          puffery, but rather its applicability to this case.
           statements of opinion rise to the level of a fraudulent
           representation, statements such as,
           ‘Aspect has the skills, experience, and resources to successfully and
           quickly capitalize on the 3D opportunity,’ are mere puffery and
           cannot form the basis for a fraud claim.” (footnotes omitted)).
Florida    Westgate Resorts, LTD. v. Reed Hein & Assoc., LLC., 2018 WL             Florida does not dispute the doctrine of puffery,
           5279156, at *5 (M.D. Fla. October 24, 2018) (the Court “cannot          but rather its applicability to this case.
           conclude, as a matter of law, that the statements at issue constitute
           mere opinion or puffery” and denied Defendants’ motion to dismiss
           the FDUTPA count.)
Georgia    Villalobos v. Atlanta Motorsports Sales, LLC, 355 Ga. App. 339,         Georgia does not dispute the doctrine of
           346 & n.1 (2020) (affirming judgment on the pleadings on Georgia        puffery, but rather its applicability to this case.
           Fair Business Practices Act claim after concluding buyer could not
           have justifiably relied on alleged oral misrepresentations made by
           seller's salesperson which amounted to nonactionable opinion and
           “puffery”)
Hawai‘i    Ludlow v. Lowe’s Companies, Inc., 2014 WL 12580233, at *12 (D.          Hawai‘i does not dispute the doctrine of
           Haw. Jan. 17, 2014) (“Thus, a statement that is quantifiable, that      puffery, but rather its applicability to this case.
           makes a claim as to the ‘specific or absolute characteristics of a
           product,’ may be an actionable statement of fact while a general,
           subjective claim about a product is non-actionable puffery.”).
Indiana    Kesling v. Hubler Nissan, Inc., 997 N.E.2d 327, 333 (Ind. 2013)         Indiana does not dispute the doctrine of
           (“puffery consists of ‘empty superlatives on which no reasonable        puffery, but rather its applicability to this case.
           person would rely,’ or ‘meaningless sales patter...’”) (citing All–
           Tech Telecom, Inc. v. Amway Corp., 174 F.3d 862, 868 (7th Cir.
           1999)).

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Iowa        Adrian Trucking, Inc. v. Navistar, Inc., 609 F. Supp. 3d 728, 750      Iowa is not currently represented in the State
            (N.D. Iowa 2022) (unactionable puffery occurs when a statement is      Attorneys General Coalition; therefore, the
            not specific and measurable, and cannot be reasonably interpreted      States have no response as to their applicable
            as providing a benchmark by which the veracity of the statement        law.
            can be ascertained).
Illinois    Castaneda v. Amazon.com, Inc., --- F. Supp. 3d ---, 2023 WL            Illinois does not dispute the doctrine of puffery,
            4181275, at *7 (N.D. Ill. June 26, 2023) (statements that are “not     but rather its applicability to this case.
            objectively verifiable” are not actionable).


Kansas      Ormsby v. Imhoff & Assocs, P.C., 2014 WL 4248264, at *10 (D.           Kansas does not dispute the doctrine of puffery,
            Kan. Aug. 27, 2014) (statements which are “subjective in nature        but rather its applicability to this case.
            and non-specific" are “innocent puffing” and “not actionable”)
            (citing Baldwin v. Priem’s Pride Motel, 580 P.2d 1326 (Kan.
            1978)).
Kentucky                                                                         Kentucky does not dispute the doctrine of
            Naiser v. Unilever U.S., Inc., 975 F. Supp. 2d 727, 734 (W.D. Ky.
                                                                                 puffery, but rather its applicability to this case.
            2013) (seller who “states an opinion or expresses a judgment about
            a thing as to which [both the buyer and seller] may each be
            expected to have an opinion and exercise a judgment” is not liable).

Louisiana   Dyson, Inc. v. Oreck Corp., 2009 WL 537074, at *6 (E.D. La. Mar. Louisiana does not dispute the doctrine of
            4, 2009) (“Puffery is a non-actionable statement of general opinion puffery, but rather its applicability to this case.
            that comes in two forms: ‘(1) an exaggerated, blustering, and
            boasting statement upon which no reasonable buyer would be
            justified in relying; or (2) a general claim of superiority over
            comparable products that is so vague that it can be understood as
            nothing more than a mere expression of opinion.’”).




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Maine         State v. McLaughlin, 235 A.3d 854, 859 (Me. 2020) (considering          Maine does not dispute the doctrine of puffery,
              whether Defendant's “initial representations about his ability to       but rather its applicability to this case.
              complete the work were mere ‘puffery,’ exaggerating or overselling
              his ability to convince the victims to hire him,” but noting that the
              record evidence was sufficient to support the jury’s verdict
              irrespective of any puffery).
Maryland      Singh v. Lenovo (United States) Inc., 510 F. Supp.3d 310, 330 (D.       Maryland does not dispute the doctrine of
              Md. 2021) (“A statement is considered non-actionable puffery if a       puffery, but rather its applicability to this case.
              claim is ‘extremely unlikely to induce consumer reliance,’ while
              ‘quantifiable’ statements and ‘misdescriptions of specific or
              absolute characteristics of a product’ are actionable.” (internal
              citations omitted)).
Massachusetts Valley Children’s Hosp. v. Athenahealth, Inc., 2023 WL 6065800,         Massachusetts is not currently represented in
              at *5 (D. Mass. Sept. 18, 2023) (Statements that are “too vague and     the State Attorneys General Coalition;
              immaterial” are non actionable puffery).                                therefore, the States have no response as to
                                                                                      their applicable law.

Michigan       Mahindra & Mahindra Ltd. v. FCA US LLC, 2021 WL 323253, at             Michigan does not dispute the doctrine of
               *5 (E.D. Mich. Feb. 1, 2021)                                           puffery, but rather its applicability to this case.
               (Unactionable puffery occurs when vague phrases are “nothing
               more than a mere expression of opinion”).

Minnesota       Song v. Champion Petfoods USA, Inc., 2020 WL 7624861, at *10          Minnesota does not dispute the doctrine of
                (D. Minn. Dec. 22, 2020), aff'd, 27 F.4th 1339 (8th Cir. 2022)        puffery, but rather its applicability to this case.
                (statements are not actionable when they are “too vague to be
                proved or disproved”).

Missouri        Tucker v. Gen. Motors LLC, 58 F.4th 392, 398 (8th Cir. 2023)          Missouri does not dispute that the doctrine of
                (Missouri) (“merely exaggerated boasting or highly subjective         puffery is an open question that its courts have
                claims of product superiority” are unactionable puffery).             not explicitly decided, but rather its
                                                                                      applicability to this case. See Hurst v. Nissan N.
                                                                                      Am., Inc., 529 S.W.3d 322, 325 (Mo. 2017)

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                                                                                   (stating “[t]he question of whether “puffery” is
                                                                                   actionable under the MMPA . . . is an
                                                                                   interesting question worthy of study. But that
                                                                                   question need not be decided in this case”
                                                                                   because it assumed terms like “luxury” or
                                                                                   “premium” “are sufficiently factual for this
                                                                                   Court to leave to a jury the questions of
                                                                                   whether those representations were false in a
                                                                                   particular case.”). However, regulations
                                                                                   interpreting the Missouri Merchandising
                                                                                   Practices Act clearly capture such conduct. See
                                                                                   Mo. Code Regs. tit. 15, § 60-9.010(1)(A)
                                                                                   (defining “assertion” as including “words,
                                                                                   conduct or pictorial depiction, and may convey
                                                                                   past or present fact, law, value, opinion,
                                                                                   intention or other state of mind”

                                                                                   (emphasis added)).


Nevada     Bevers v. D.R. Horton, Inc., 2011 WL 294369, at *2 (D. Nev. Jan.        Nevada is not currently represented in the State
           26, 2011) (“A statement is not actionable if it is merely an            Attorneys General Coalition; therefore, the
           expression of opinion, an estimate of value, or ‘mere puffery.’”).      States have no response as to their applicable
                                                                                   law.

North      Glob. Hookah Distribs. v. Avior, Inc., 401 F. Supp. 3d 653, 659         North Carolina does not dispute that some
Carolina   (W.D.N.C. 2019) (“The line between corporate optimism and               lower courts have applied the doctrine of
           material statements falls where the statements at issue were specific   puffery to private deception claims under the
           factual allegations that were not simply sales pitches but rather can   Unfair or Deceptive Trade Practices Act
           be proven true or false” (internal quotation marks omitted))            (“UDTPA”). However, the North Carolina
                                                                                   Supreme Court has explained that the UDTPA
                                                                                   “was needed because common law remedies
                                                                                   had proved often ineffective,” in part because

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                                                                                     “[t]ort actions for deceit in cases of
                                                                                     misrepresentation . . . were subject to the
                                                                                     defense of ‘puffing.’” Marshall v. Miller, 276
                                                                                     S.E.2d 397, 400 (N.C. 1981).
                                                                                     Moreover, the defense of puffery goes to the
                                                                                     reasonableness of a plaintiff’s reliance. Solum
                                                                                     v. Certainteed Corp., 147 F.Supp.3d 404, 411–
                                                                                     12 (E.D.N.C. 2015). Private plaintiffs must
                                                                                     allege reasonable reliance. See N.C. Gen. Stat.
                                                                                     § 75-16 (permitting suit by “injured”
                                                                                     plaintiff”); Bumpers v. Cmty. Bank of Va., 747
                                                                                     S.E.2d 220, 226 (N.C. 2013). The Attorney
                                                                                     General is not required to do so. See N.C. Gen.
                                                                                     Stat. § 75-15; State ex rel. Edmisten v.
                                                                                     Challenge, Inc., 284 S.E.2d 333, 339 (N.C. Ct.
                                                                                     App. 1981) (in a public enforcement action,
                                                                                     “[i]t is not necessary to show actual injury has
                                                                                     resulted, but merely that the act or practice
                                                                                     complained of adversely affects the public
                                                                                     interest”).
North Dakota   Dahl v. Messmer, 719 N.W.2d 341, 345 (N.D. 2006) (“statements         North Dakota does not dispute the doctrine of
               of opinion . . . have not been actionable even though they are false” puffery, but rather its applicability to this case.
               because they are non-actionable puffery)


Ohio           Davis v. Byers Volvo, 2012-Ohio-882, ¶ 39 (“mere boasting” would Ohio does not dispute the doctrine of puffery,
               be interpreted by a reasonable consumer as “a general claim of   but rather its applicability to this case.
               superiority, which constitutes puffery and is not actionable”)




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Oregon         Andriesian v. Cosm. Dermatology, Inc., 2015 WL 1638729, at *4          Oregon does not dispute the doctrine of
               (D. Or. Mar. 3, 2015) (“‘[G]eneralized, vague and unspecific           puffery, but rather its applicability to this case.
               assertions constitut[e] mere ‘puffery’ upon which a reasonable
               consumer [cannot] rely.’ Glen Holly Entm't, Inc. v. Tektronix Inc.,
               343 F.3d 1000, 1015 (9th Cir.2003) (holding that a company's
               statements ‘generally describing the ‘high priority’ [it] placed on
               product development and alluding to marketing efforts” that
               suggested the product was almost complete and would be released
               could not form the basis for a fraud or negligent misrepresentation
               claim). The court may determine as a matter of law whether a
               statement is puffery.’”)
Pennsylvania   Kovalev v. Lidl US, LLC, 647 F. Supp. 3d 319, 352–53 (E.D. Pa.         Pennsylvania does not dispute the doctrine of
               2022) (“Where the impression created by the [advertising]              puffery, but rather its applicability to this case.
               statement is one of exaggeration or overstatement expressed in
               broad language, it may be deemed non-actionable puffery.”).

Rhode Island   A.J. Amer Agency, Inc. v. Astonish Results, LLC, 2014 WL               Rhode Island does not dispute the doctrine of
               3496964, at *20 (D.R.I. July 11, 2014) (“rosy statements about         puffery, but rather its applicability to this case.
               future performance amounts to ‘puffery’ and is not actionable”).


South          Clarkson v. Orkin Exterminating Co., 761 F.2d 189, 191 (4th Cir.       South Carolina does not dispute the doctrine of
Carolina       1985) (“[a] statutory prohibition of deceptive practices simply does   puffery, but rather its applicability to this case.
               not reach expected puffing of a vendor’s product nor authorize an
               award of damages solely on the basis of testimony from a
               competitor that the product is ineffective.”).
South Dakota   Schmaltz v. Nissen, 431 N.W.2d 657, 661 (S.D. 1988) (“An               South Dakota does not dispute the doctrine of
               affirmation merely of the value of the goods or a statement            puffery, but rather its applicability to this case.
               purporting to be merely the seller's opinion or commendation of the
               goods does not create a warranty.”).



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Tennessee    McElroy v. Boise Cascade Corp., 632 S.W.2d 127, 130 (Tenn. Ct.           Tennessee is not currently represented in the
             App. 1982) (“statements of opinion or intention are not actionable.      State Attorneys General Coalition; therefore,
             . . . Likewise, puffing or other sales talk is generally not             the States have no response as to their
             actionable.”).                                                           applicable law.

Texas        Prudential Ins. Co. of Am. v. Jefferson Assocs., Ltd., 896 S.W.2d        Texas is not currently represented in the State
             156, 163 (Tex. 1995) (“These statements were not                         Attorneys General Coalition; therefore, the
             misrepresentations of material fact but merely ‘puffing’ or opinion,     States have no response as to their applicable
             and thus could not constitute fraud.”).                                  law.

Utah         Boud v. SDNCO, Inc., 2002 UT 83, ¶ 14, 54 P.3d 1131, 1135 (“To           Utah is not currently represented in the State
             qualify as an affirmation of fact, a statement must be objective in      Attorneys General Coalition; therefore, the
             nature, i.e., verifiable or capable of being proven true or false.”).    States have no response as to their applicable
                                                                                      law.

Vermont      Otis-Wisher v. Fletcher Allen Health Care, Inc., 951 F. Supp. 2d         Vermont is not currently represented in the
             592, 603 (D. Vt. 2013)                                                   State Attorneys General Coalition; therefore,
             (“[m]isrepresentations involving facts are actionable while those        the States have no response as to their
             involving opinions are not.”)                                            applicable law.

Virginia     Graham v. RRR, LLC, 202 F. Supp. 2d 483, 491 (E.D. Va. 2002)           Virginia does not dispute the doctrine of
             (“As a general rule, ‘fraud must relate to a present or a pre-existing puffery, but rather its applicability to this case.
             fact, and cannot ordinarily be predicated upon unfulfilled promises
             or statements as to future events.’”).

Washington   Babb v. Regal Marine Indus., Inc., 179 Wash. App. 1036 (2014)            Washington does not dispute the doctrine of
             (“General, subjective, unverifiable claims about a product or            puffery, but rather its applicability to this case.
             service are ‘mere puffery’ that cannot give rise to false advertising
             or, in this context, an unfair or deceptive act.” (internal citation
             omitted)).



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Wisconsin   Tietsworth v. Harley-Davidson, Inc., 270 Wis. 2d 146, 171-72         Wisconsin does not dispute the doctrine of
            (2004) (“exaggerations reasonably to be expected of a seller as to   puffery, but rather its applicability to this case.
            the degree of quality of his product” is non-actionable puffery).




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                                                Appendix B: Materiality Requirement

                                                                                         State AG Response2
    State         Authority

    Arizona       In re Arizona Theranos, Inc. Litig., 2023 WL 3246811, at *5 (D.        See Opp. p. 30 n.27 noting that Arizona requires
                  Ariz. May 4, 2023) (“the ACFA broadly prohibits the                    only deceptive omissions, not affirmative
                  misrepresentation or omission of any material fact in connection       misrepresentations, to be material; Ariz. Rev.
                  with the sale or advertisement of consumer goods and services.”).      Stat. Ann. § 44-1522; accord, e.g., State ex rel.
                                                                                         Horne v. AutoZone, Inc., 275 P.3d 1278, 1281
                                                                                         (Ariz. 2012) (distinguishing omission from act).


    California    People v. Johnson & Johnson, 77 Cal. App. 5th 295, 327 (2022)          See Opp. p. 30 n.29; People v. Johnson &
                  (assuming that “a materiality standard is implicit in the likelihood   Johnson, 77 Cal. App. 5th 295, 326–28 (2022)
                  of deception standard applicable in all fraudulent and deceptive       (noting that there is no materiality requirement
                  advertising cases”)                                                    to determine deception under California’s
                                                                                         Unfair Competition law, but that materiality can
                                                                                         bear on standing for private plaintiffs or in class
                                                                                         actions, not Attorney General Actions).

2
  Although Meta identified New York and New Jersey as two of the 18 states it believes has a materiality requirement, and Nebraska as
a state that it believes incorporates the FTCA’s materiality requirement, none of these states are named in this appendix. Should Meta
reprise     this      argument,     however,    these     states    have    provided      relevant    citations    for     the   court.

Nebraska: No court in Nebraska has held that materiality is a requirement under the Nebraska Consumer Protection Act.

New Jersey: Leon v. Rite Aid Corp., 774 A.2d 674 (N.J. Super. Ct. App. Div. 2001) (“[I]t is not necessary that plaintiff show . . . that the
misrepresentation was of material fact” when bringing a deception claim under New Jersey’s Consumer Fraud Act.).

New York: People v. Trump, 2023 WL 630 7177, at *15 (N.Y. Sup. Ct., Sept. 26, 2023) (holding that materiality is not a requirement
under N.Y. Exec. Law § 63(12)) and Gaidon v. Gaurdian Life Ins. Co. Of Am., 725 N.E.2d 598, 604 (N.Y. 1999) (treating materiality as
a question of fact rather than a question of law when evaluating claims under Gen. Bus. Law § 349).

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Colorado      Rhino Linings USA, Inc. v. Rocky Mountain Rhino Lining, Inc., 62        See Opp. p. 30 n.30, clarifying the holding of
              P.3d 142, 147 (Colo. 2003) (“a false representation must either         Rhino Linings USA, Inc. v. Rocky Mountain
              induce a party to act, refrain from acting, or have the capacity or     Rhino Lining, Inc., 62 P.3d 142, 147 (Colo.
              tendency to attract consumers.”).                                       2003) (explaining that only some claims under
                                                                                      the Colorado Consumer Protection Act require
                                                                                      that false representations “have the capacity or
                                                                                      tendency to attract consumers”).
Connecticut   State v. Moody’s Corp., 2012 WL 2149408, at *2 (Conn. Super.            Connecticut does not dispute that a materiality
              Ct. May 10, 2012) (State required to allege                             requirement applies to its claims of deception
              “that the misleading representation, omission, or practice was          and notes that the States’ Opposition adequately
              material”)                                                              addresses how that requirement has been met.

Delaware      Crowhorn v. Nationwide Mut. Ins. Co., 2002 WL 1767529, at *9            See Opp. p. 30 n.30, clarifying that Crowhorn v.
              (Del. Super. Ct. July 10, 2002) (“The CFA ‘incorporates the             Nationwide Mut. Ins. Co., 2002 WL 1767529
              principle that a negligent misrepresentation is sufficient to violate   (Del. Super. Ct., July 10, 2022) is not relevant to
              the statute,’ and for a misrepresentation to be negligent it must be    Delaware’s Count XI.
              material.”)
                                                                                      See also Opp. p. 30 n.27, noting that Delaware
                                                                                      requires only deceptive omissions, not
                                                                                      affirmative misrepresentations, to be material,
                                                                                      Del. Code Ann. tit. 6, § 2513(a).
Florida       [materiality requirement comes from incorporated FTCA                   Florida does not dispute that a materiality
              standard]                                                               requirement applies to its claims of deception
                                                                                      and notes that the States’ Opposition adequately
              Fla. Stat. Ann. § 501.204(2) (“It is the intent of the Legislature      addresses how that requirement has been met.
              that, in construing subsection (1), due consideration and great
              weight shall be given to the interpretations of the Federal Trade
              Commission and the federal courts relating to [subsection] 5(a)(1)
              of the Federal Trade Commission Act.”).
Georgia       Follows the FTCA standard, which makes materiality a necessary No state court in Georgia has held that
              element of a deceptive practices claim. See, e.g., F.T.C. v. Verity materiality is a requirement of actions brought by
                                                                                  the Attorney General under the Georgia Fair

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           Int’l Ltd., 443 F.3d 48, 63 (2d Cir. 2006) (“the representation,      Business Practices Act (Count XII). To the extent
           omission, or practice [must be] material”)                            the Court would apply such a requirement,
                                                                                 Georgia notes that the States’ Opposition
                                                                                 adequately addresses how that requirement has
                                                                                 been met.

Hawai‘i    State ex rel. Shikada v. Bristol-Myers Squibb Co., 152 Haw. 418, Hawai‘i does not dispute that a materiality
           443 (2023) (“Materiality is an essential element of a . . . deceptive requirement applies to its claims of deception
           acts violation.”).                                                    and notes that the States’ Opposition adequately
                                                                                 addresses how that requirement has been met.
Indiana    Meta is not aware of case law in Indiana addressing the               See Opp. p. 30 n.27 noting that Indiana does not
           materiality requirement either way, but respectfully submits that     contain any express materiality element.
           Indiana would follow the majority rule.
                                                                                 No state court in Indiana has held that there is a
                                                                                 materiality requirement to bring a deceptive
                                                                                 claim under the Indiana Deceptive Consumer
                                                                                 Sales Act (Count XVIII).
Illinois   People ex rel. Madigan v. United Const. of Am., Inc., 981 N.E.2d Illinois does not dispute that a materiality
           404, 409 (Ill. App. 2012) (to state a claim, State must requirement applies to its claims of deception
           “demonstrat[e] that a defendant misrepresented a material fact”). and notes that the States’ Opposition adequately
                                                                                 addresses how that requirement has been met.


Kansas                                                                    See Opp. p. 30 n.27, noting that Kan. Stat. Ann.
                                                                          § 50-626 (Count XX) requires materiality for
                                                                          some prongs, but not others, such as § 50-
           York v. InTrust Bank, N.A., 265 Kan. 271, 290 (1998) (claim 626(b)(1); Nieberding v. Barrette Outdoor
           requires “any oral or written representation, of exaggeration,
                                                                          Living, Inc., 302 F.R.D. 600, 615 (D. Kan. 2014)
           falsehood, innuendo or ambiguity as to a material fact”)
                                                                          (holding that misrepresentation claims under the
                                                                          Kansas Consumer Protection Act do not have a
                                                                          materiality requirement, only omissions claims).

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Kentucky                                                                       See Opp. p. 30 n.27 noting that Kentucky does
                                                                               not contain any express materiality element.
            [materiality requirement comes from incorporated FTCA              See Opp. p. 31 n. 31 noting that the Kentucky
            standard]
                                                                               Supreme Court in Morgan v. Blue Cross & Blue
            Morgan v. Blue Cross & Blue Shield of Kentucky, Inc., 794 S.W.2d   Shield, 794 S.W.2d 629, 632 (Ky. 1989)
            629, 632 (Ky. 1989) (“The [Kentucky Supreme] Court . . .           compared the language of the Kentucky
            determined that the language of Section 5 of the Federal Trade     Consumer Protection Act (Count XXII) to the
            Commission Act [15 U.S.C. § 45(a)(1)] was comparable to
                                                                               FTCA for the purpose of determining
            Kentucky law.”).
                                                                               constitutionality, not to apply the FTCA
                                                                               standard or impose a materiality requirement for
                                                                               state deception claims.
Louisiana   [materiality requirement comes from incorporated FTCA              See Opp. p. 30 n.27 noting that Louisiana does
            standard]                                                          not contain any express materiality element.

            La. Stat. Ann. § 51:1406(4) (“The provisions of this Chapter shall No state court in Louisiana has held that
            not apply to: … (4) Any conduct which complies with section        materiality is a requirement under the Louisiana
            5(a)(1) of the Federal Trade Commission Act [15 U.S.C.,            Unfair Trade Practices Act (Count XXIII).
            45(a)(1)], as from time to time amended, any rule or regulation
            promulgated thereunder and any finally adjudicated court decision
            interpreting the provisions of said Act, rules and regulations.”).
Maine       State v. Weinschenk, 868 A.2d 200, 206 (Me. 2005) (“An act or      Maine does not dispute that a materiality
            practice is deceptive if it is a material representation.”)        requirement applies to its claims of deception
                                                                               and notes that the States’ Opposition adequately
                                                                               addresses how that requirement has been met.

Michigan    In re OnStar Cont. Litig., 278 F.R.D. 352, 376 (E.D. Mich. 2011)   See Opp. p. 30 n.27, noting that Michigan Comp.
            (requiring that that “the defendant made a material                Laws Ann. section 445.903 requires materiality
            misrepresentation that was false”).                                only for subsections (1)(s), (bb), and (cc), not the
                                                                               other prongs also cited in Count XXV.


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                                                                               See also Opp. p. 30 n.29, citing Brownlow v.
                                                                               McCall Enters., Inc., 888 N.W. 2d 295, 306
                                                                               (Mich. Ct. App. 2016) (limiting the applicability
                                                                               of In re OnStar Cont. Litig. to clarify that the
                                                                               materiality requirement deriving from common
                                                                               law fraud will only be incorporated where
                                                                               materiality is an explicit element of subsections
                                                                               of the Michigan Consumer Protection Act, Mich.
                                                                               Comp. Laws §§ 445.903(1)(s),(bb),(cc), but not
                                                                               where the subsections do not explicitly contain a
                                                                               materiality requirement, Mich. Comp. Laws §§
                                                                               445.903(1)(a),(b), (e)).
Minnesota   Transclean Corp. v. Bridgewood Servs., Inc., 77 F. Supp. 2d        See Opp. p. 30 n.27, noting that the Minnesota
            1045, 1095 (D. Minn. 1999) (requiring that “the deception is       Uniform Deceptive Trade Practices Act (Count
            material because it is likely to influence buying decisions”).     XXVI) does not contain any express materiality
                                                                               element.

                                                                               See also Opp. p. 31 n.32 citing Sutton v. Viking
                                                                               Oldsmobile Nissan, Inc., 611 N.W.2d 60, 64
                                                                               (Minn. Ct. App. 2000), vacated on other
                                                                               grounds, 623 N.W.2d 247 (Minn. 2001)
                                                                               (declining to read materiality into Minnesota
                                                                               Consumer Fraud Act).

                                                                               Compare Transclean Corp. v. Bridgewood
                                                                               Servs., Inc., 77 F. Supp. 2d 1045, 1095 (D. Minn.
                                                                               1999) (evaluating Minnesota Uniform Deceptive
                                                                               Trade Practices Act under the Lanham Act
                                                                               standard when brought simultaneously in a
                                                                               private action) with Buetow v. A.L.S. Enterprises,
                                                                               Inc., 650 F.3d 1178, 1183 (8th Cir. 2011)
                                                                               (recognizing it is erroneous to evaluate claims

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                                                                                   under Minnesota Uniform Deceptive Trade
                                                                                   Practices Act under federal consumer protection
                                                                                   standards when only the state claim is asserted).
Missouri       Dedloff v. Whole Foods Mkt. Grp., Inc., 2023 WL 5428501, at *5      See Opp. p. 30 n.27, noting that the Missouri
               (E.D. Mo. Aug. 23, 2023) (requiring “that the method, act, or       Merchandising Practices Act (Count XXVIII)
               practice declared unlawful by section 407.020 would cause a         requires only deceptive omissions, not
               reasonable person to enter into the transaction that resulted in    affirmative misrepresentations, to be material;
               damages”).                                                          Mo. Ann. Stat. § 407.020(1).

                                                                                   Compare Mo. Code Regs. Tit. 15, § 60-9.020(1)
                                                                                   (“Deception is any method, act, use, practice,
                                                                                   advertisement or solicitation that has the
                                                                                   tendency or capacity to mislead, deceive or
                                                                                   cheat, or that tends to create a false impression.”)
                                                                                   with Mo. Code Regs. Tit. 15, § 60-9.070(1)
                                                                                   (incorporating materiality explicitly into
                                                                                   regulations related to concealment and
                                                                                   suppression, but not deception).

                                                                                   See also Opp. p. 30 n.29, distinguishing Dedloff
                                                                                   v. Whole Foods Mkt. Grp., Inc., 2023 WL
                                                                                   5428501, at *5 (E.D. Mo. Aug. 23, 2023) as
                                                                                   interpreting inapplicable private action provision
                                                                                   of Missouri law.
North Carolina [materiality requirement comes from incorporated FTCA               The North Carolina Unfair or Deceptive Trade
               standard]                                                           Practices Act (UDTPA), N.C. Gen. Stat. § 75-1.1
                                                                                   et seq., (Count XXXIX) does not contain any
               Henderson v. U.S. Fid. & Guar. Co., 346 N.C. 741, 749, 488          express materiality element. While FTCA
               S.E.2d 234, 239 (1997) (“Our statute is patterned after section 5   decisions may provide persuasive authority on
               of the Federal Trade Commission Act, 15 U.S.C. § 45(a)(1), and      the construction of the UDTPA, they “are not
               we look to federal case law for guidance in interpreting the        controlling.” Holley v. Coggin Pontiac, Inc., 259
               statute.”)                                                          S.E.2d 1, 10 (N.C. Ct. App. 1979). North


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                                                                                   Carolina courts do not require the Attorney
                                                                                   General to allege misrepresentations induce
                                                                                   action by a particular consumer. Instead, the test
                                                                                   is whether the practice “has the capacity or
                                                                                   tendency to deceive; proof of actual deception is
                                                                                   not required.” Marshall v. Miller, 276 S.E.2d
                                                                                   397, 403 (N.C. 1981).

North Dakota   N. Bottling Co. v. Henry’s Foods, Inc., 474 F. Supp. 3d 1016,       See Opp. p. 30 n.27, noting that North Dakota law
               1028 (D.N.D. 2020) (requiring that “the deception is material, in   does not contain any express materiality element;
               that it is likely to influence the purchasing decision”)            First Union Nat’l Bank v. RPB 2, LLC, 2004 ND
                                                                                   29, ¶ 17, 674 N.W.2d 1 (“[t]his Court will not add
                                                                                   words or additional meaning to a statute”). N.D.
                                                                                   Cent. Code chapter 51–15 was patterned after
                                                                                   Minnesota law. Ackre v. Chapman & Chapman,
                                                                                   P.C., 788 N.W.2d 344, 1020 ND 167, ¶29
                                                                                   (Sandstrom, J., concurring in result). Sutton v.
                                                                                   Viking Oldsmobile Nissan, Inc., 611 N.W.2d 60,
                                                                                   64 (Minn. App. 2000) declined to read
                                                                                   materiality into Minnesota Consumer Fraud Act,
                                                                                   and the same analysis should apply to North
                                                                                   Dakota law. N. Bottling Co. v. Henry’s Foods,
                                                                                   Inc., 474 F. Supp. 3d 1016, 1028 (D.N.D. 2020)
                                                                                   is discussing the Lanham Trade-Mark Act, 15
                                                                                   U.S.C. §1125(a)(1)(B), not N.D. Cent. Code §51-
                                                                                   15-02.
Ohio           Davis v. Byers Volvo, 2012 WL 691757, ¶ 29 (Ohio App. 4 Dist.       Ohio does not dispute that a materiality
               2012) (to be deceptive, act must “concern a matter that is or is    requirement applies to its claims of deception
               likely to be material to a consumer’s decision”)                    and notes that the States’ Opposition adequately
                                                                                   addresses how that requirement has been met.




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Oregon         Oregon is a minority state that disclaims a materiality                No response needed.
               requirement.
Pennsylvania   [materiality requirement comes from incorporated FTCA                  See Opp. p. 30 n.27, noting that Pennsylvania law
               standard]                                                              does not contain any express materiality element.

               Com., by Creamer v. Monumental Properties, Inc., 459 Pa. 450,          See also Toy v. Metro. Life Ins. Co., 928 A.2d
               461–62, 329 A.2d 812, 817–18 (1974) (“The Consumer                     186, 203 n.20 (Pa. 2007)(“[W]e recognize that
               Protection Law has regularly been interpreted by the                   federal decisions brought under the federal
               Commonwealth Court as being based on the Federal Trade                 statute can provide guidance. There is, however,
               Commission Act . . . . Indeed, in all relevant respects the language   no rule that binds us to those decisions.”)(internal
               of section 3 of the Consumer Protection Law and section 5 of the       citations omitted)); Com. by Creamer v.
               FTC Act is identical.”).                                               Monumental Props., Inc., 329 A.2d 812, 817–18
                                                                                      (Pa. 1974) (holding that state courts “may look to
                                                                                      [the FTCA] for guidance and interpretation” as
                                                                                      persuasive precedent, but it is not binding when
                                                                                      evaluating state consumer protection claims).

                                                                                      See generally Commonwealth v. Golden Gate
                                                                                      Nat’l Senior Care LLC, 194 A.3d 1010, 1023
                                                                                      (Pa. 2018) (“[A]n act or practice is deceptive or
                                                                                      unfair if it has the capacity or tendency to
                                                                                      deceive, and neither the intention to deceive nor
                                                                                      actual deception must be proved; rather, it need
                                                                                      only be shown that the acts and practices are
                                                                                      capable of being interpreted in a misleading
                                                                                      way.” (cleaned up)).
Rhode Island   State v. BTTR, LLC, 2023 WL 3183738, at *8 (R.I. Super. Apr.           Rhode Island does not dispute that a materiality
               24, 2023) (“requiring State to prove that ‘the representation,         requirement applies to its claims of deception
               omission, or practice is material’”)                                   and notes that the States’ Opposition adequately
                                                                                      addresses how that requirement has been met.




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                                                                                     See also Long v. Dell, Inc., 93 A.3d 988, 1003
                                                                                     (R.I. 2014) (holding that “[e]xpress
                                                                                     representations that are shown to be false are
                                                                                     presumptively material” (quoting Cliffdale
                                                                                     Assoc., Inc., 103 F.T.C. 110, 168, 182 (1984)).
South Carolina [materiality requirement comes from incorporated FTCA                 See Opp. p. 30 n.27, noting that South Carolina
               standard]                                                             law does not contain any express materiality
               S.C. Code Ann. § 39-5-20(b) (“It is the intent of the legislature     element.
               that in construing paragraph (a) of this section the courts will be
               guided by the interpretations given by the Federal Trade              No state court in South Carolina has held that
               Commission and the Federal Courts to Section 5(a) (1) of the          materiality is a requirement under the South
               Federal Trade Commission Act (15 U.S.C. 45(a)(1)), as from time       Carolina Unfair Trade Practices Act.
               to time amended.”).
Virginia       Weiss v. Cassidy Dev. Corp., 63 Va. Cir. 76 (2003) (requiring “a      See Opp. p. 30 n.27, noting that the Virginia
               false representation, of material fact”).                             Consumer Protection Act (Count L) does not
                                                                                     contain any express materiality element.

                                                                                     See also Opp. p. 30 n.29, comparing Weiss v.
                                                                                     Cassidy Dev. Corp., No. 206766, 2003 WL
                                                                                     22519650, at *2 (Va. Cir. Ct. Aug. 18, 2003)
                                                                                     (relying on outdated precedent that Virginia
                                                                                     Consumer Protection Act (“VCPA”)
                                                                                     incorporates all common law “elements of
                                                                                     fraud”) with Owens v. DRS Auto. Fantomworks,
                                                                                     Inc., 764 S.E.2d 256, 260 (Va. 2014) (clarifying
                                                                                     VCPA “extends considerably beyond fraud” by
                                                                                     eliminating common law elements).
Washington      Washington is a minority state that disclaims a materiality          No response needed.
                requirement.



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Wisconsin   Weaver v. Champion Petfoods USA Inc., 3 F.4th 927, 934 (7th         See Opp. p. 30 n.27 noting that the Wisconsin
            Cir. 2021) (Wisconsin; “[A] label is deceptive if it is likely to   Deceptive Trade Practices Act (Count LIV) does
            mislead a reasonable consumer in a material respect.”)              not contain any express materiality element.

                                                                                See also Wis. Stat § 100.18(11)(d) (creating a
                                                                                separate cause of action for the State to bring a
                                                                                public enforcement action that does not require a
                                                                                showing of materiality or pecuniary loss).

                                                                                See also Opp. p. 30 n.29, distinguishing Weaver
                                                                                v. Champion Petfoods USA Inc., 3 F.4th 927, 934
                                                                                (7th Cir. 2021) (discussing inapplicable private
                                                                                action provision, not the public enforcement
                                                                                provision, and citing Beardsall v. CVS
                                                                                Pharmacy, Inc., 953 F.3d 969, 972–73 (7th Cir.
                                                                                2020), which does not interpret Wisconsin law).




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                      Appendix C: States that Follow the Federal Trade Commission Act (FTCA) Standard

                                                                                        State AG Response3 4
    State         Authority
    Arizona       Ariz. Rev. Stat. Ann. § 44-1522(C) (“It is the intent of the          See Opp. p. 35 n.37, acknowledging that the
                  legislature, in construing subsection A, that the courts may use as   statute provides that courts may use the FTCA
                  a guide interpretations given by the federal trade commission and     as a guide in interpreting the Arizona Consumer
                  the federal courts to 15 United States Code [§§] 45, 52 and           Fraud Act, but the state’s position is that this is
                  55(a)(1).”).                                                          a requirement that is less restrictive than the
                                                                                        FTCA.

                                                                                        See also Opp. p. 37, supporting the position that
                                                                                        the States sufficiently plead that their alleged
                                                                                        injury was not reasonably avoidable citation to
                                                                                        Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152,
                                                                                        1169 (9th Cir. 2012) and FTC v. Neovi, Inc.,
                                                                                        604 F.3d 1150, 1158 (9th Cir. 2010).
    Connecticut   Conn. Gen. Stat. Ann. § 42-110b(b) (“It is the intent of the          See Opp. p. 35 n.38, citing Ulbrich v. Groth, 78
                  legislature that in construing subsection (a) of this section, the    A.3d 76, 100 (Conn. 2013) in support of the
                  commissioner and the courts of this state shall be guided by          position that the state’s law is generally broader
                  interpretations given by the                                          than the FTCA.


3
  The title of Meta’s Appendix C is overly broad and thus inaccurate. While the title refers to states that follow the FTCA standard, many
of the relevant statutes provide that the states are merely guided by the FTCA, or, as in Illinois’s statute, that “consideration shall be
given to the interpretations of the [FTC].” 815 Ill. Comp. Stat. Ann. 505/2. The difference between follow and guided or consider is
legally significant.
4
  While California does not apply a single test for unfairness, California courts “may turn for guidance to the jurisprudence arising under
the ‘parallel’ section 5 of the Federal Trade Commission Act.” Cel-Tech Commc’ns v. L.A. Cellular Tel. Co., 973 P.2d 527, 564 (Cal.
1999).

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           Federal Trade Commission and the federal courts to Section
           5(a)(1) of the Federal Trade Commission Act (15 USC 45(a)(1)),
           as from time to time amended.”)

Delaware   Del. Code Ann. tit. 6, § 2511(9) (“‘Unfair practice’ means any act Delaware does not dispute the applicability of the
           or practice that causes or is likely to cause substantial injury to FTCA Standard as it applies to its claims of
           consumers which is not reasonably avoidable by consumers            unfairness.
           themselves and not outweighed by countervailing benefits to
           consumers or to competition.”)
Florida    Fla. Stat. Ann. § 501.204(2) (“It is the intent of the Legislature  The Florida Court of Appeal (from FTC’s 1980
           that, in construing subsection (1), due consideration and great     policy directive) held an unfair practice, is an
           weight shall be given to the interpretations of the Federal Trade   act that (1) causes/likely to cause substantial
           Commission and the federal courts relating to [subsection] 5(a)(1) injury to consumers, (2) cannot be reasonably
           of the Federal Trade Commission Act.”)                              avoided by consumers, (3) and is not
                                                                               outweighed by the countervailing benefits to
                                                                               consumers or to competition. FTC 1980 Policy
                                                                               Statement on Unfairness. See Porsche Cars N.
                                                                               Am., Inc. v. Diamond, 140 So. 3d 1090, 1096
                                                                               (Fla. Dist. Ct. App. 2014).

                                                                               The Florida Supreme Court held (following
                                                                               FTC’s 1964 policy directive) that an unfair
                                                                               practice is “one that ‘offends established public
                                                                               policy’ and one that is ‘immoral, unethical,
                                                                               oppressive, unscrupulous or substantially
                                                                               injurious to consumers. See PNR, Inc. v. Beacon
                                                                               Prop. Mgmt., Inc., 842 So. 2d 773, 777 (Fla.
                                                                               2003).




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Georgia    Ga. Code Ann. § 10-1-391(b) (“It is the intent of the General       See Opp. p. 37, supporting the position that the
           Assembly that this part be interpreted and construed consistently   States sufficiently plead that their alleged injury
           with interpretations given by the Federal Trade Commission in the   was not reasonably avoidable and citing to
           federal courts pursuant to Section 5(a)(1) of the Federal Trade     Orkin Exterm. Co. v. Fed. Trade Comm’n, 849
           Commission Act (15 U.S.C. Section 45(a)(1)), as from time to        F.2d 1354, 1365 (11th Cir. 1988).
           time amended.”)
Hawai‘i    Haw. Rev. Stat. Ann. § 480-2(b) (“In construing this section, the   See Opp. p. 35 n.38 citing State ex rel. Shikada
           courts and the office of consumer protection shall give due         v. Bristol-Myers Squibb Co., 526 P.3d 395, 422–
           consideration to the rules, regulations, and decisions of the       23 (Haw. 2023) in support of the position that
           Federal Trade Commission and the federal courts interpreting        the state’s law is generally broader than the
           section 5(a)(1) of the Federal Trade Commission Act (15 U.S.C.      FTCA.
           45(a)(1)), as from time to time amended.”).
Illinois   815 Ill. Comp. Stat. Ann. 505/2 (“In construing this section        See Opp. p. 38 n. 43, clarifying that Illinois
           consideration shall be given to the interpretations of the          follows Sperry and that Meta mischaracterizes
           Federal Trade Commission and the federal courts relating            its unfairness standard. See Robinson v. Toyota
           to Section 5(a) of the Federal Trade Commission Act.”).             Motor Credit Corp., 775 N.E.2d 951, 960–61
                                                                               (Ill. 2002) (endorsing Sperry factors and holding
                                                                               that a practice may be unfair “because of the
                                                                               degree to which it meets one of the criteria or
                                                                               because to a lesser extent it meets all three”).

                                                                               See also Opp. p. 38, regarding whetherthe States
                                                                               sufficiently plead that their alleged injury was
                                                                               not reasonably avoidable and the State’s
                                                                               position that Meta’s interpretation of Illinois
                                                                               law was misplaced. See Phillips v. Double
                                                                               Down Interactive LLC, 173 F. Supp. 3d 731,
                                                                               743 (N.D. Ill. 2016); Ristic v. Machine Zone,
                                                                               Inc., No. 15-cv-8996, 2016 WL 4987943, at *2–
                                                                               4 (N.D. Ill. Sept. 19, 2016)




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Kentucky    Morgan v. Blue Cross & Blue Shield of Kentucky, Inc., 794                See Opp. p. 31. Neither case refers to any
            S.W.2d 629, 632 (Ky. 1989) (“The [Kentucky                              specific elements of FTCA claims. See Morgan
            Supreme] Court . . . determined that the language of Section 5 of       v. Blue Cross & Blue Shield of Kentucky, Inc.,
            the Federal Trade Commission Act [15 U.S.C. § 45(a)(1)] was             794 S.W.2d 629, 632 (Ky. 1989) (“The statutes
            comparable to Kentucky law.” (citing Dare to be Great, Inc. v.          imposing general restrictions on trade practices
            Com. of Ky, ex rel Hancock, Ky., 511 S.W.2d 224 (1974))).               are recognized as legitimate and necessary
                                                                                    forms of regulation.”); Dare to be Great, Inc. v.
                                                                                    Commonwealth of Kentucky, 511 S.W.2d 224,
                                                                                    227 (Ky. 1974) (“KRS 367.170 is claimed to be
                                                                                    void for vagueness. . . .”). No case applies or
                                                                                    interprets the KYCPA under the same analysis
                                                                                    as unfairness under the FTCA.
Louisiana   La. Stat. Ann. § 51:1406(4) (“The provisions of this Chapter shall      Inkas’s S’Coolwear, Inc. v. Sch. Time, L.L.C.,
            not apply to: (4) Any conduct which complies with section 5(a)(1)       97-2271 (La. App. 1 Cir. 1998), 725 So. 2d 496,
            of the Federal Trade Commission Act [15 U.S.C., 45(a)(1)], as           501 (“A practice is considered unfair when it
            from time to time amended, any rule or regulation promulgated           offends established public policy, when the
            thereunder and any finally adjudicated court decision interpreting      practice is unethical, oppressive, unscrupulous,
            the provisions of said Act, rules and regulations.”).                   or substantially injurious to consumers.”); see
                                                                                    also Nat’l Oil Service of Louisiana, Inc. v.
                                                                                    Brown, 9740 (La. App 4 Cir. 1980), 381 So.2d
                                                                                    1269.
Maine       Me. Rev. Stat. tit. 5, § 207(1) (“It is the intent of the Legislature   See Opp. p. 35 n.36, noting that Maine did not
            that in construing this section the courts will be guided by the        bring an unfairness claim.
            interpretations given by the Federal Trade Commission and the
            Federal Courts to Section 45(a)(1) of the Federal Trade
            Commission Act (15 United States Code 45(a)(1)), as from time
            to time amended.”).




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Minnesota   “An unfair or unconscionable act or practice is any . . . act[] or    See Opp. p. 41, explaining that Minnesota
            practice that: (1) offends public policy as established by the        courts’ evaluation of unfairness and
            statutes, rules, or common law of Minnesota; (2) is unethical,        unconscionability is modeled
            oppressive, or unscrupulous; or (3) is substantially injurious to     after the “cigarette rule” standard used by the
            consumers.” Minn. Stat. Ann. § 325F.69, subd. 8.                      FTCA before it was amended in 1994 to the
                                                                                  current substantial unjustified injury test and
                                                                                  noting that Meta inaccurately characterizes
                                                                                  Minnesota’s law as following the FTCA’s
                                                                                  current unfairness standard.
Missouri    An “unfair practice” is a practice that either (1) “[o]ffends any     See Opp. p. 41–42 explaining that Missouri has
            public policy as it has been established by the Constitution,         sufficiently stated a claim in accordance with
            statutes or common law of this state, or by the Federal Trade         Mo. Code Regs. Ann. tit. 15, § 60-8.020 and
            Commission, or its interpretive decisions,” or (2) that both is       Fed. Trade Comm’n v. Sperry & Hutchinson,
            “unethical, oppressive, or unscrupulous and [] presents a risk of,    Co, 405 U.S. 233, 243 (1972) (quoting Fed.
            or causes, substantial injury to consumers.” Ward v. W. Cnty.         Trade Comm’n v. R. F. Keppel & Bro., Inc., 291
            Motor Co., 403 S.W.3d 82, 84 (Mo. 2013), as modified (May 28,         U.S. 304, 313 (1934)) and that support for the
            2013).                                                                same was provided in citation to various
                                                                                  paragraphs in the complaint.

Nebraska    Salem Grain Co., Inc. v. Consol. Grain & Barge Co., 297 Neb.          See Opp. p. 35 n.38, citing State ex rel. Stenberg
            682, 698 (2017) (“Section 59-1602 states that ‘[u]nfair methods of    v. Consumer’s Choice Foods, Inc., 755 N.W.2d
            competition and unfair or deceptive acts or practices in the          583, 590–91 (Neb. 2008) (adopting Raad v.
            conduct of any trade or commerce shall be unlawful.’ We have          Wal-Mart Stores, Inc., 13 F. Supp. 2d 1003,
            stated that § 59-1602 mirrors the language of 15 U.S.C. §             1014 (D. Neb. 1998)) in support of the position
            45(a)(1).”)).                                                         that the state’s law adopts the Sperry standard
                                                                                  and is generally broader than the FTCA.
                                                                                  Defendants’ cited case applies only to antitrust
                                                                                  actions, which are harmonized with federal law.




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New York       Multistate Compl. Count XXXVII, ¶¶ 1077–84 (“Violation of              New York does not dispute this characterization
               FTC Act § 5 in Violation of N.Y. Executive Law § 63(12)).              of an unfairness claim.


North          Henderson v. U.S. Fid. & Guar. Co., 346 N.C. 741, 749 (1997)           North Carolina’s legislature has not expressly
Carolina       (“Our statute is patterned after section 5 of the Federal Trade        adopted the FTC Act’s unfairness standard,
               Commission Act, 15 U.S.C. § 45(a)(1), and we look to federal           compare N.C. Gen. Stat. § 75-1.1 with 15
               case law for guidance in interpreting the statute.”)                   U.S.C. § 45(n), nor have North Carolina’s
                                                                                      courts, see Walker v. Fleetwood Homes of N.C.,
                                                                                      Inc., 653 S.E.2d 393, 399 (N.C. 2007) (a
                                                                                      “practice is unfair when it offends established
                                                                                      public policy as well as when the practice is
                                                                                      immoral, unethical, oppressive, unscrupulous, or
                                                                                      substantially injurious to consumers.”).


North Dakota   Compare N.D. Cent. Code Ann. § 51-15-02 (“The act, use, or             See Opp. p. 35 n.36, noting that Meta
               employment by any person of any act or practice, in connection         incorrectly characterizes North Dakota law.
               with the sale or advertisement of any merchandise, which is            The North Dakota DTPA does not contain a
               unconscionable or which causes or is likely to cause substantial       harmonization provision directing courts to
               injury to a person which is not reasonably avoidable by the injured    interpret it in harmony with interpretations of
               person and not outweighed by countervailing benefits to                the FTC Act. N.D. Cent. Code chapter 51-15.
               consumers or to competition, is declared to be an unlawful             However, North Dakota courts can and will look
               practice.”), with 15 U.S.C. § 45(n) (“The Commission shall have        to the interpretation of same or similar federal
               no authority under this section or section 57a of this title to        law for guidance “when it is sensible to do so.”
               declare unlawful an act or practice on the grounds that such act or    Hieb v. State, 2016 ND 146, ¶12, 882 N.W.2d
               practice is unfair unless the act or practice causes or is likely to   724.
               cause substantial injury to consumers which is not reasonably
               avoidable by consumers themselves and not outweighed by
               countervailing benefits to consumers or to competition.”)




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Ohio           Ohio Rev. Code Ann. § 1345.02(C) (“In construing division (A)          See Shumaker-v-Hamilton Chevrolet, Inc., 920
               of this section, the court shall give due consideration and great      N.E.2d 1023, 1030 (Ohio Ct. App. 2009)
               weight to federal trade commission orders, trade regulation rules      (holding that Ohio is not bound by FTC rules
               and guides, and the federal courts’ interpretations of subsection 45   and need only “consider federal precedent for its
               (a)(1) of the “Federal Trade Commission Act,” 38 Stat. 717             persuasive value”).
               (1914), 15 U.S.C.A. 41, as amended.”)
Pennsylvania    Creamer v. Monumental Properties, Inc., 459 Pa. 450, 461–62,          The Pennsylvania Supreme Court has stated, “we
               329 A.2d 812, 817–18 (1974) (“The Consumer Protection Law              may look to the decisions under those Acts [e.g.,
               has regularly been interpreted by the Commonwealth Court as            FTCA] for guidance and interpretation.” Com. by
               being based on the Federal Trade Commission Act . . . . Indeed, in     Creamer v. Monumental Props., Inc., 329 A.2d
               all relevant respects the language of section 3 of the Consumer        812, 817–18 (Pa. 1974); see also Toy v. Metro.
               Protection Law and section 5 of the FTC Act is identical.” (citing     Life Ins. Co., 928 A.2d 186, 203 n. 20 (Pa. 2007)
               15 U.S.C.A. § 45(a)(1))))
                                                                                      (“[W]e recognize that federal decisions brought
                                                                                      under the federal statute can provide guidance.
                                                                                      There is, however, no rule that binds us to those
                                                                                      decisions.” (internal citations omitted))

Rhode Island   6 R.I. Gen. Laws Ann. § 6-13.1-3 (“It is the intent of the             Long v. Dell, Inc., 93 A.3d 988, 1003 (R.I.
               legislature that in construing §§ 6-13.1-1 and 6-                      2014). In ruling on the DTPA violations, courts
               13.1-2 due consideration and great weight shall be given to the        should consider three factors: “(1) Whether the
               interpretations of the Federal Trade                                   practice, without necessarily having been
               Commission and the federal courts relating to § 5(a) of the Federal    previously considered unlawful, offends public
               Trade Commission Act, 15 U.S.C. § 45(a)(1), as from time to time       policy as it has been established by statutes, the
               amended.”)
                                                                                      common law, or otherwise—whether, in other
                                                                                      words, it is within at least the penumbra of some
                                                                                      common-law, statutory, or other established
                                                                                      concept of unfairness; (2) whether it is immoral,
                                                                                      unethical, oppressive, or unscrupulous; (3)
                                                                                      whether it causes substantial injury to



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                                                                                 consumers (or competitors or other
                                                                                 businessmen).” Id. at 1000.


South      S.C. Code Ann. § 39-5-20(b) (“It is the intent of the legislature     “The SCUTPA was modeled after the Federal
Carolina   that in construing paragraph (a) of this section the courts will be   Trade Commission Act, which provides
           guided by the interpretations given by the Federal Trade              ‘[u]nfair methods of competition in or affecting
           Commission and the Federal Courts to Section 5(a) (1) of the          commerce, and unfair or deceptive acts or
           Federal Trade Commission Act (15 U.S.C. 45(a)(1)), as from time       practices in or affecting commerce, are hereby
           to time amended.”).                                                   declared unlawful.’” State ex rel. Wilson v.
                                                                                 Ortho-McNeil-Janssen Pharms., Inc., 777
                                                                                 S.E.2d 176, 188 (S.C. 2015). “An unfair trade
                                                                                 practice has been defined as a practice which is
                                                                                 offensive to public policy or which is immoral,
                                                                                 unethical, or oppressive.” Id. (citing deBondt v.
                                                                                 Carlton Motorcars, Inc., 536 S.E.2d 399, 407
                                                                                 (S.C. Ct. App. 2000)). “Whether an act or
                                                                                 practice is unfair or deceptive within the
                                                                                 meaning of the [SC]UTPA depends upon the
                                                                                 surrounding facts and the impact of the
                                                                                 transaction on the marketplace.” Id. at 57. “The
                                                                                 terms ‘unfair’ and ‘deceptive’ are not defined in
                                                                                 SCUTPA; rather, in section 39–5–20(b) of the
                                                                                 Act, the legislature directs that in construing
                                                                                 those terms, the courts of our state ‘will be
                                                                                 guided by’ decisions from the federal courts, the
                                                                                 Federal Trade Commission Act (FTCA), and
                                                                                 interpretations given by the Federal Trade
                                                                                 Commission (FTC).” Id. “We find no reversible
                                                                                 error in the trial court's failure to charge the


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                                                                                     precise verbiage of section 45(n) of the FTCA.
                                                                                     We do not discern the wide chasm between the
                                                                                     federal and state definitions of ‘unfair’ that
                                                                                     Janssen urges. The FTC has issued ‘Policy
                                                                                     Statements’ that provide guidance on the
                                                                                     statutory terms.” Id. at 70.


Washington   Wash. Rev. Code Ann. § 19.86.920 (“The legislature hereby               See Opp. p. 35 n.37 noting that while
             declares that the purpose of this act is to complement the body of      Washington courts look to federal law for
             federal law governing restraints of trade, unfair competition and       guidance when interpreting the Washington
             unfair, deceptive, and fraudulent acts or practices in order to         CPA, Washington courts are not bound by the
             protect the public and foster fair and honest competition. It is the    FTCA or federal law and instead give effect to
             intent of the legislature that, in construing this act, the courts be   Washington law. Klem v. Wash. Mut. Bank, 295
             guided by final decisions of the federal courts and final orders of     P.3d 1179, 1187 (Wash. 2013) (en banc)
             the federal trade commission interpreting the various federal           (“Although we have been guided by federal
             statutes dealing with the same or similar matters.”).                   interpretations, Washington has developed its
                                                                                     own jurisprudence regarding application of
                                                                                     Washington’s CPA.”).




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               Appendix D: States that Require a Consumer Transaction or Connection to Trade or
               Commerce

                    Definition of “Trade or Commerce” or “Consumer                       State AG Response5
 State
                    Transaction”
 Alabama            Ala. Code § 8-19-5 (limiting “deceptive acts or practices” to        Alabama is not currently represented in the
                    those “in the conduct of any trade or commerce” (emphasis            State Attorneys General Coalition; therefore,
                    added)); Ala. Code § 8-19-3(14) (“Trade or commerce includes         the State AGs have no response as to their
                    but is not limited to, the advertising, buying, offering for sale,   applicable law.
                    sale or distribution or performance of any service or goods, and
                    any other article, commodity, or thing of value wherever
                    situated and shall include any trade or commerce affecting the
                    people of this state.”); Ala. Code § 8-19-10(a) (providing that
                    “[a]ny person who commits one or more of the acts or practices
                    declared unlawful under this chapter and thereby causes
                    monetary damage to a consumer . . . shall be liable to each
                    consumer” (emphasis added)); Ala. Code § 8-19-3(4) (a
                    “consumer” is “[a]ny natural person who buys goods or services
                    for personal, family, or household use” (emphasis added)).




5 Meta did not include Minnesota in its Appendix D. However, the Minnesota Deceptive Trade Practices Act does not require a sale or

consumer transaction and instead applies broadly to commercial conduct. See Minn. Stat. § 325.44, subd. 1 (includes conduct that occurs
in the “course of business, vocation, or occupation”).


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Arizona       Ariz. Rev. Stat. Ann. § 44-1522 (“The act, use or employment         See Opp. p. 33, citing Ariz. Rev. Stat. Ann. §
              by any person of any deception, deceptive or unfair act or           44-1522 noting the exact point that Meta
              practice, fraud, false pretense, false promise, misrepresentation,   emphasizes in this chart that a violation only
              or concealment, suppression or omission of any material fact         has to broadly be in connection with the
              with intent that others rely on such concealment, suppression or     consumer transaction (emphasis added).
              omission, in connection with the sale or advertisement of any
              merchandise whether or not any person has in fact been misled,       Additionally, see Opp. p. 44 where Arizona
              deceived or damaged thereby, is declared to be an unlawful           state law is used to support the position that the
              practice.” (emphasis added)); Ariz. Rev. Stat. Ann. § 44-1521        relevant bargained-for exchange (rather than a
              (“Advertisement includes the attempt by publication,                 transfer of dollars) is consumers’ personal data.
              dissemination, solicitation or circulation, oral or written, to      State v. Google LLC, 2022 WL 223907, at *13–
              induce directly or indirectly any person to enter into any           14 (Ariz. Super. Ct., Jan. 21, 2022).
              obligation or acquire any title or interest in any merchandise;
              Sale means any sale, offer for sale or attempt to sell any
              merchandise for any consideration, including sales, leases and
              rentals of any real estate subject to any form of deed restriction
              imposed as part of a previous sale.”).
Connecticut   Conn. Gen. Stat. Ann. § 42-110b(a) (“No person shall engage in   See Opp. p. 43, citing McCann Real
              unfair methods of competition and unfair or deceptive acts or    Equities Series XXII, LLC. v. David McDermott
              practices in the conduct of any trade or commerce.” (emphasis    Chevrolet, Inc., 890 A.2d 140, 163–64 (Conn.
              added)).                                                         App. Ct. 2006) (no violation for “activities that
                                                                               are incidental to an entity’s primary trade or
                                                                               commerce”).
Delaware      Del. Code Ann. tit. 6, § 2513(a) (“The act, use, or employment The purpose of adding the word “receipt” to
              by any person of any deception, fraud, false pretense, false     Del. Code Ann. tit. 6, § 2513(a) was to “[…]
              promise, misrepresentation, unfair practice, or the concealment, clarify that persons who provide goods or
              suppression, or omission of any material fact with intent that   services at no charge to consumers—such as
              others rely upon such concealment, suppression, or omission, in social media companies funded by advertising
              connection with the sale, lease, receipt, or advertisement of    revenue—are not precluded from being held
              any merchandise . . . .”).
                                                                               liable for engaging in consumer fraud simply
                                                                               because they may not directly sell or lease their


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                                                                         goods or services to consumers.” H,B. 91, 151st
                                                                         Gen. Assemb., Reg. Sess. (Del. 2021).

                                                                         Del. Code Ann. tit. 6, § 2511(1), defines
                                                                         “advertisement” much more broadly than the
                                                                         colloquial definition. (“[T]he attempt by
                                                                         publication, solication or cirulation to induce,
                                                                         directly or indirectly, any person to enter into
                                                                         any obligation or acquire any title or interest in,
                                                                         any merchandise.”)
Georgia   Ga. Code Ann. § 10-1-393(a) (“Unfair or deceptive acts or      See Opp. p. 33, citing Zeeman v. Black, 273
          practices in the conduct of consumer transactions and          S.E.2d 910, 915 (Ga. Ct. App. 1980) noting the
          consumer acts or practices in trade or commerce are declared   general requirement that a consumer
          unlawful. (emphasis added)); Henderson v. Gandy, 270 Ga.       transaction occur in the “context of the ongoing
          App. 827, 830 (2004) (requiring that the representations be    business.”
          “intended to encourage consumer transactions”).
                                                                         See also Opp. p. 44, noting that acts done to
                                                                         encourage consumer transactions are sufficient,
                                                                         such as being able to purchase goods and
                                                                         services through Meta’s platforms and
                                                                         exposure to advertisements on the platforms
                                                                         (which occurs as a result of a consumer
                                                                         viewing advertisements on Meta’s platforms
                                                                         and exchanging his or her personal data for
                                                                         access to Meta’s platforms) making consumer
                                                                         transactions more likely.
Hawai‘i   HRS § 480-2 (“Unfair methods of competition and unfair or      As the Hawai‘i Intermediate Court of Appeals
          deceptive acts or practices in the conduct of any trade or     noted in Beerman v. Toro Mfg. Corp., “[t]he
          commerce are unlawful.”(emphasis added)); Baham v. Ass’n of    legislative history to §§ 480-2 and 480-13
          Apartment Owners of Opua Hale Patio Homes, 2014 WL             makes clear that the paramount purpose of both
          2761744, at *19 (D. Haw. June 18, 2014) (“trade or commerce”   statutes is to prevent deceptive practices by
          means “a transaction [that] occurs in a business context”).    businesses that are injurious to other businesses

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                                                                                 and consumers.” 615 P.2d 749, 754 (Haw. Ct.
                                                                                 App. 1980) (emphasis added). This intent is
                                                                                 also evidenced by the absence of definitions for
                                                                                 terms such as “trade or commerce” or
                                                                                 “consumer transaction” in Haw. Rev. Stat. §
                                                                                 480-1.

Idaho      I.C. § 48-603 (“The following unfair methods of competition           Idaho did not bring a state consumer protection
           and unfair or deceptive acts or practices in the conduct of any       claim.
           trade or commerce are hereby declared to be unlawful”
           (emphasis added)); I.C. § 48-602(2) (“‘Trade’ and ‘commerce’
           mean the advertising, offering for sale, selling, leasing, renting,
           collecting debts arising out of the sale or lease of goods or
           services or distributing goods or services, either to or from
           locations within the state of Idaho, or directly or indirectly
           affecting the people of this state.”).
Illinois   815 ILCS 505/2 (“Unfair methods of competition and unfair or          Illinois courts routinely hold that “trade or
           deceptive acts or practices . . . in the conduct of any trade or      commerce” applies to acts not directly linked to
           commerce are hereby declared unlawful whether any person has          specific sales transactions. See, e.g., People ex
           in fact been misled, deceived or damaged thereby.” (emphasis          rel. Hartigan v. Maclean Hunter Publishing
           added)); 815 ILCS 505/1(f) (“The terms ‘trade’ and ‘commerce’         Corp., 119 Ill.App.3d 1049, 457 N.E.2d 480,
           mean the advertising, offering for sale, sale, or distribution of     75 Ill. Dec. 486 ( Ill. App. Ct. 1983) (trade or
           any services and any property, tangible or intangible, real,          commerce includes the publishing of a manual
           personal or mixed, and any other article, commodity, or thing of      of pricing information for used cars). The
           value wherever situated, and shall include any trade or               “appropriate inquiry” when analyzing whether
           commerce directly or indirectly affecting the people of this          the complained-of conduct occurred in “trade
           State.”); City of Chicago v. Purdue Pharma L.P., 2021 WL              or commerce” includes assessing whether the
           1208971, at *4 (N.D. Ill. Mar. 31, 2021) (requiring “the              acts “directly or indirectly [affect] the people of
           defendant’s intent that the plaintiff rely on the deceptive or        [Illinois].” People ex rel. Daley v. Datacom
           unfair practice”).                                                    Systems Corp., 176 Ill. App. 3d 697, 708 (Ill.
                                                                                 App. Ct. 1988)



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Indiana   Ind. Code Ann. § 24-5-0.5-3(a) (“A supplier may not commit an    See Opp. p. 45 explaining how a different court
          unfair, abusive, or deceptive act, omission, or practice in      imposed an extratextual requirement for a
          connection with a consumer transaction.” (emphasis added));      consumer to have exchanged money to use a
          Catrett v. Landmark Dodge, Inc., 253 Ga. App. 639, 642 (2002)    platform for it to qualify as a consumer
          (“To come within the FBPA, therefore, the deceptive activity     transaction where the Indiana Deceptive
          must take place in the context of the consumer marketplace.”);   Consumer Sales Act (DCSA) contains no such
          Ga. Code Ann. § 10-1-392(a)(7) (“[c]onsumer acts or practices”   requirement.
          means “acts or practices intended to encourage consumer
          transactions”); Ga. Code Ann. § 10-1-392(a)(10) (“Consumer       A sale does not require the exchange of money.
          transactions,” means “the sale, purchase, lease, or rental of    “[T]he common definition of a sale” is “the
          goods, services, or property, real or personal, primarily for    trade-off of title to property for consideration.”
          personal, family, or household purposes.”).                      Monarch Beverage Co. v. Ind. Dep’t of State
                                                                           Revenue, 589 N.E. 2d 1209, 1213 (Ind. T.C.
                                                                           1992). The DCSA does not define “sale,” but
                                                                           the Indiana Code elsewhere defines the term
                                                                           consistent with the common definition of
                                                                           “transfers [of] property to another person for
                                                                           consideration.” Ind. Code § 6-2.5-4-1(b)(2)
                                                                           (defining “selling at retail”). The consideration
                                                                           from a sale can take various forms and is not
                                                                           limited to a money payment. See Ind. Dep’t of
                                                                           State Revenue v. Belterra Resort Ind., LLC, 935
                                                                           N.E.2d 174, 179 (Ind. 2010), opinion modified
                                                                           on reh’g sub nom., 942 N.E.2d 796 (Ind. 2011)
                                                                           (defining consideration as a “benefit” and
                                                                           holding that “consideration—no matter what its
                                                                           form—consists of a bargained-for exchange”).
                                                                           In addition, the DCSA definition of consumer
                                                                           transaction explicitly includes transactions that
                                                                           do not necessarily involve money, like an
                                                                           “assignment” or an “award by chance.” Ind.
                                                                           Code § 24-5-0.5-2(a)(1).


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                                                                                 Indiana also notes that Meta has cited to
                                                                                 Georgia law in the Indiana section of the
                                                                                 Appendix.

Kansas     Kan. Stat. Ann. § 50-626(a) (“No supplier shall engage in any         A consumer transaction does not require a
           deceptive act or practice in connection with a consumer               monetary exchange as a trade may also
           transaction.” (emphasis added)); Kan. Stat. Ann. § 50-624(c)          establish a “disposition of value.” Ellibee v.
           (“‘Consumer transaction’ means a sale, lease, assignment or           Aramark Corr. Servs., Inc., 154 P.3d 39, 41
           other disposition for value of property or services within this       (Kan. Ct. App. 2007). Under Kan. Stat. Ann. §
           state, except insurance contracts regulated under state law, to a     50-624(l), “supplier” means a manufacturer,
           consumer; or a solicitation by a supplier with respect to any of      distributor, dealer, seller, lessor, assignor, or
           these dispositions.” (emphasis added)).                               other person who, in the ordinary course of
                                                                                 business, solicits, engages in or enforces
                                                                                 consumer transactions, whether or not dealing
                                                                                 directly with the consumer.

                                                                                 See Watkins v. Roach Cadillac, Inc., 637 P.2d
                                                                                 458 (Kan. Ct. App. 1981) (extending the
                                                                                 definition of a consumer transaction further by
                                                                                 saying that a sale or a lease, or exchange of
                                                                                 money, doesn’t actually have to take place.);
                                                                                 State ex rel. Kline v. Berry, 137 P.3d 500 (Kan.
                                                                                 Ct. App. 2006) (expanding on the Watkins case
                                                                                 by finding that a solicitation in Kansas is
                                                                                 enough to establish jurisdiction, even if the
                                                                                 transaction occurs elsewhere or not at all).
Kentucky   Ky. Rev. Stat. § 367.170(1) (“Unfair, false, misleading, or           Stevens v. Motorists Mut. Ins. Co., 759 S.W.2d
           deceptive acts or practices in the conduct of any trade or            819, 821 (Ky. 1988) (The Kentucky Consumer
           commerce are hereby declared unlawful.” (emphasis added));            Protection Act “has the broadest application in
           Ky. Rev. Stat. § 367.110(2) (“‘Trade’ and ‘commerce’ means            order to give Kentucky consumers the broadest
           the advertising, offering for sale, or distribution of any services   possible protection for allegedly illegal acts.”).
           and any property, tangible or intangible, real, personal or mixed,    For example, in Suhail v. Univ. of the

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            and any other article, commodity, or thing of value, and shall    Cumberlands, 107 F. Supp. 3d 748, 758 (E.D.
            include any trade or commerce directly or indirectly affecting    Ky. 2015), the district court found that a
            the people of this Commonwealth.”).                               university’s recruitment of students would be
                                                                              considered “trade or commerce” for purposes
                                                                              of our consumer protection act. This broad
                                                                              interpretation, combined with a plain reading of
                                                                              the statute, makes clear that Meta’s unfair and
                                                                              or deceptive practices are deemed in the
                                                                              “conduct of any trade or commerce.”
Louisiana   La. Stat. Ann. § 51:1405 (“Unfair methods of competition and      Louisiana Unfair Trade Practices Act’s
            unfair or deceptive acts or practices in the conduct of any trade definition of “trade” and “commerce” includes
            or commerce are hereby declared unlawful.” (emphasis added)); the “advertisement” and “distribution” of
            La. Stat. Ann. § 51:1402(9) (“Trade and commerce” defined as intangible services. There is no consumer
            “the advertising, offering for sale, sale, or distribution of any transaction requirement.
            services and any property, corporeal or incorporeal, immovable
            or movable, and any other article, commodity, or thing of value Louisiana courts look to the plain language of
            wherever situated, and includes any trade or commerce directly the statute to address conduct occurring in the
            or indirectly affecting the people of the state.”).               course of trade or commerce. See Law Indus.,
                                                                              LLC v. State of Louisiana, 2023-00794 (La.
                                                                              1/26/24), 378 So.3d 3.

Maine       Me. Rev. Stat. tit. 5, § 207 (“Unfair methods of competition and      In relying on the language of Maine’s statute,
            unfair or deceptive acts or practices in the conduct of any trade     “trade or commerce” under the Maine Unfair
            or commerce are declared unlawful.” (emphasis added)); Me.            Trade Practices Act is defined to include “the . .
            Rev. Stat. tit. 5, § 206(3) (“‘Trade’ and ‘commerce’ shall            . distribution of any services and any property .
            include the advertising, offering for sale, sale or distribution of   . . and any other article, commodity or thing of
            any services and any property, tangible or intangible, real,          value wherever situate[d.]” Me. Rev. Stat. tit. 5,
            personal or mixed, and any other article, commodity or thing of       § 206(3). Accordingly, Maine law prohibits a
            value wherever situated, and shall include any trade or               business that provides services to consumers
            commerce directly or indirectly affecting the people of this          from engaging in deceptive practices with
            State.”).                                                             respect to those services.



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Maryland        Md. Code Ann., Com. Law § 13-303(1) (act limited to “[t]he             Maryland did not bring a state consumer
                sale, lease, rental, loan, or bailment of any consumer goods,          protection claim.
                consumer realty, or consumer services”); Md. Code Ann., Com.
                Law § 13-101(i) (“sale” means “[s]ale of or offer or attempt to
                sell merchandise, real property, or intangibles for cash or credit;
                or . . . [s]ervice or offer for service which relates to any person,
                building, or equipment.”); id. § 13-101(j) (“Service,” means
                “[b]uilding repair or improvement service; . . . [s]ubprofessional
                service; . . . [r]epair of a motor vehicle, home appliance, or
                other similar commodity; . . . or [r]epair, installation, or other
                servicing of any plumbing, heating, electrical, or mechanical
                device.”).
Massachusetts   Mass. Gen. Laws Ann. ch. 93A, § 2(a) (“Unfair methods of               Massachusetts is not currently represented in
                competition and unfair or deceptive acts or practices in the           the State Attorneys General Coalition;
                conduct of any trade or commerce are hereby declared                   therefore, the States have no response as to
                unlawful.” (emphasis added)); Mass. Gen. Laws Ann. ch. 93A,            their applicable law.
                § 1(b) (“Trade or commerce” defined as including, “the
                advertising, the offering for sale, rent or lease, the sale, rent,
                lease or distribution of any services.”).
Michigan        Mich. Comp. Laws Ann. § 445.903 (“Unfair, unconscionable,              See Opp. p. 43, citing Florists’ Transworld
                or deceptive methods, acts, or practices in the conduct of trade       Delivery, Inc. v. Fleurop-Interflora, 261 F.
                or commerce are unlawful.” (emphasis added)).                          Supp. 2d 837, 849 (E.D. Mich. 2003)

Missouri        Mo. Ann. Stat. § 407.020(1) (“The act, use or employment by            See Opp. p. 33–34, citing Conway v.
                any person of any deception, fraud, false pretense, false              CitiMortgage, Inc., 438 S.W.3d 410, 414 (Mo.
                promise, misrepresentation, unfair practice or the concealment,        2014) finding that the violation must simply
                suppression, or omission of any material fact in connection with       have “a relationship” with the sale.
                the sale or advertisement of any merchandise in trade or
                commerce or the solicitation of any funds for any charitable
                purpose, as defined in section 407.453, in or from the state of
                Missouri, is declared to be an unlawful practice.” (emphasisc
                added)); Mo. Ann. Stat. § 407.010(7) (“‘Trade’ or ‘commerce’,

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             the advertising, offering for sale, sale, or distribution, or any
             combination thereof, of any services, and any property, tangible
             or intangible, real, personal, or mixed, and any other article,
             commodity, or thing of value wherever situated).

Nebraska     Neb. Rev. Stat. Ann. § 59-1602 (“Unfair methods of                  Meta does not contest, nor could it, that it is a
             competition and unfair or deceptive acts or practices in the        for-profit business that engages in commerce
             conduct of any trade or commerce shall be unlawful. (emphasis       that directly or indirectly affects Nebraskans.
             added)); Neb. Rev. Stat. Ann. § 59-1601 (“Trade and commerce        The commerce includes Meta’s efforts to
             shall mean the sale of assets or services and any commerce          maximize user engagement, Meta’s collection
             directly or indirectly affecting the people of the State of         of consumer data, the buying and selling of
             Nebraska.”).
                                                                                 advertising on ad exchanges, or any of the other
                                                                                 numerous commercial activities that a company
                                                                                 of Meta’s stature engages in on a daily basis.

                                                                                 Meta does not contest that the Nebraska
                                                                                 Uniform Deceptive Trade Practices Act, Neb.
                                                                                 Rev. Stat. § 87-301 et seq., applies to its
                                                                                 misconduct.
New Jersey   N.J. Stat. Ann. § 56:8-2 (requiring that the act be done “in        Meta’s public testimony was in connection
             connection with the sale or advertisement”).                        with the sale and advertisement of (a) Meta
                                                                                 Verified, and (b) Meta’s collection of
                                                                                 consumers’ data to advertise merchandise.
                                                                                 Compl. at 46–47, 52. Meta’s public statements
                                                                                 misrepresented the safety of certain features,
                                                                                 downplayed the actual harmful and addictive
                                                                                 effects of continued use, and obfuscated the
                                                                                 actual profit-driven motive of developing these
                                                                                 features in order to induce greater consumption
                                                                                 and use of the platform. Compl. at 120–24.
                                                                                 New Jersey courts have found liability for


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                                                                        similarly substantive representations regarding
                                                                        safety and found that the representations were
                                                                        made in connection with the sale or
                                                                        advertisement of merchandise. See, e.g.,
                                                                        Grewal v. Janssen Pharms., Inc., No. C-80-18,
                                                                        2019 N.J. Super. Unpub. LEXIS 5766 at *16-
                                                                        18 (N.J. Super. Ct. Oct. 21, 2019).

                                                                        Furthermore, Meta's efforts to maximize
                                                                        consumer engagement and retention are part
                                                                        and parcel with its targeted advertisement
                                                                        business and its sale of Meta Verified. Compl.
                                                                        at 54–58. Meta’s conduct—attracting a
                                                                        younger audience, collecting their personal
                                                                        information, and using that personal
                                                                        information to provide targeted
                                                                        advertisements—all serves to increase its future
                                                                        business opportunities and profits. Such a
                                                                        “business opportunity” is merchandise within
                                                                        the ambit of the New Jersey Consumer Fraud
                                                                        Act. See Kavky v. Herbalife Int’l of Am., 820
                                                                        A.2d 677 (N.J. Super. Ct. App. Div. 2003)
                                                                        (citing Morgan v. Air Brook Limousine, 510
                                                                        A.2d 1197 (N.J. Super. Ct. 1986)).
New York   Fed. Trade Comm’n v. Quincy Bioscience Holding Co., Inc.,    New York Executive Law § 63 (12) does not
           646 F. Supp. 3d 518, 526 (S.D.N.Y. 2022) (requiring that     require an underlying consumer transaction,
           defendant’s conduct be “consumer-oriented”).                 sale, or advertisement to support a violation.
                                                                        See People by Lefkowitz v. MacDonald, 330
                                                                        N.Y.S.2d 85 (N.Y. Sup. Ct. 1972) (holding that
                                                                        N.Y. Exec. Law § 63(12) had been violated
                                                                        where defendant repeatedly violated state
                                                                        maritime laws by transiting waters without a
                                                                        licensed pilot); State v. Hamilton, 511 N.Y.S.2d

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                                                                                190 (N.Y. App. Div. 1986) (holding that N.Y.
                                                                                Exec. Law § 63(12) was violated where
                                                                                defendant repeatedly engaged in unlawful
                                                                                sexual discrimination).

                                                                                New York General Business Laws §§ 349 and
                                                                                350 “on their face apply to virtually all
                                                                                economic activity, and their application has
                                                                                been correspondingly broad... [in order to
                                                                                provide] needed authority to cope with the
                                                                                numerous, ever-changing types of false and
                                                                                deceptive business practices which plague
                                                                                consumers in our State.” Karlin v. IVF Am.,
                                                                                Inc., 712 N.E.2d 662, 665 (N.Y. 1999) (citation
                                                                                omitted). “Consumer-oriented,” means “that
                                                                                the acts or practices have a broader impact on
                                                                                consumers at large” rather than being “private
                                                                                contract disputes.” Oswego Laborers Local
                                                                                214 Pension Fund v. Marine Midland Bank, 85
                                                                                N.Y.2d 20, 25(1995).
North Dakota   N.D. Cent. Code § 51-15-02 (“The act, use or employment by       N.D. Cent. Code § 51-15-01(1) applies to an
               any person of any deceptive act or practice, fraud, false        “attempt by publication, dissemination,
               pretense, false promise, or misrepresentation, with the intent   solicitation, or circulation, oral or written, to
               that others rely thereon in connection with the sale or          induce, directly or indirectly, any person to
               advertisement of any merchandise . . . is declared to be an      enter into any obligation or acquire any title or
               unlawful practice.” (emphasis added)).                           interest in any merchandise” (emphasis added).
                                                                                A sale is “any sale, offer for sale, or attempt to
                                                                                sell any such merchandise for any
                                                                                consideration, N.D. Cent. Code § 51-15-01(5)
                                                                                (emphasis added); see also Woodmont Co. v.
                                                                                LaSalle Shopping Ctr., LLC, 2020 WL
                                                                                2857164 (D.N.D., June 2, 2020) (the “in
                                                                                connection with” language in § 51-15-02 is

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                                                                                    inclusive and the terms of § 51-15-01 are
                                                                                    broad).

                                                                                    North Dakota law protects persons, not only
                                                                                    consumers. N.D. Cent. Code § 51-15-01(4);
                                                                                    Jorgenson v. Agway, Inc., 2001 ND 104, ¶¶ 8-
                                                                                    9, 627 N.W.2d 391 (the clear and ambiguous
                                                                                    language of N.D.C.C. § 51-15-09 and the
                                                                                    definition of “person” belied a legislative intent
                                                                                    to limit the statute to only consumer
                                                                                    transactions). N.D.C.C. § 51-15-02, like
                                                                                    N.D.C.C. § 51-15-09, uses the term “person,”
                                                                                    not “consumer.”
Ohio           Ohio R.C. § 1345.02(A) (“No supplier shall commit an                 See Opp. p. 43, noting that a consumer
               unconscionable act or practice in connection with a consumer transaction does not require a transfer of money
               transaction.” (emphasis added)); Ohio R.C. § 1345.01 (defining and citing Williams v. Edwards, 717 N.E.2d
               “consumer transaction” to mean “a sale, lease, assignment,           368, 373 (Ohio Ct. App. 1998) (“[T]he fact that
               award by chance, or other transfer of an item of goods, a            no money changed hands has no bearing on the
               service, a franchise, or an intangible, to an individual for         applicability of the [Consumer Sales Practices
               purposes that are primarily personal, family”).                      Act] . . . .”).
Pennsylvania   73 Pa. Stat. Ann. § 201-3(a) (“Unfair methods of competition         The definition of “conduct” is “the act, manner,
               and unfair or deceptive acts or practices in the conduct of any      or process of carrying on” when interpreting 73
               trade or commerce as defined by . . . .” (emphasis added)); 73       Pa. Cons. Stat. § 201-(3)(a). Garcia v. Foot
               Pa. Stat. Ann. § 201-2(3) (“‘Trade’ and ‘commerce’ means the Locker Retail, Inc., 2023 WL 2487256, at *3
               advertising, offering for sale, sale or distribution of any services (Pa. Super. Ct., Mar 14, 2023). Meta offers
               and any property, tangible or intangible, real, personal or mixed, products to its users and profits by selling
               and any other article, commodity, or thing of value wherever         advertisements to businesses that target the
               situated, and includes any trade or commerce directly or
                                                                                    users while on the platforms. Meta collects
               indirectly affecting the people of this Commonwealth.”).
                                                                                    revenue in the conduct (i.e. in the “act, manner
                                                                                    or carrying on”) of trade or commerce through
                                                                                    its advertising.


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Rhode Island     6 R.I. Gen. Laws Ann. § 6-13.1-2 (“Unfair methods of              R.I. Gen. Laws § 6-13.1-1(5) defines “trade”
                 competition and unfair or deceptive acts or practices in the      and “commerce” as including the “advertising,
                 conduct of any trade or commerce are declared unlawful.”          offering for sale, sale, or distribution of any
                 (emphasis added)); 6 R.I. Gen. Laws Ann. § 613.1-1(5)             services . . . or thing of value . . . and include
                 (“‘Trade’ and ‘commerce’ mean the advertising, offering for       any trade or commerce directly or indirectly
                 sale, sale, or distribution of any services and any property,     affecting the people of this state.”Meta is
                 tangible or intangible, real, personal, or mixed, and any other   distributing services and a “thing of value” to
                 article, commodity, or thing of value wherever situate, and       Rhode Islander consumers over its platforms.
                 include any trade or commerce directly or indirectly affecting
                 the people of this state.”).                                    Rhode Island courts have liberally applied the
                                                                                 DTPA to activities taking place in a
                                                                                 commercial or business context even if there
                                                                                 was no purchase by a consumer. E.g., Chen v.
                                                                                 Subaru of America, 2008 WL 4176777, at *1
                                                                                 (R.I. Super. Ct. Aug. 25, 2008) (plaintiff not
                                                                                 required to purchase goods from defendant);
                                                                                 Laccinole v. Rocket Mortgage, LLC, 609 F.
                                                                                 Supp. 3d 68, 74 (D.R.I. 2022) (defendant
                                                                                 entered Rhode Island commerce by calling
                                                                                 plaintiff to sell a financial product).
South Carolina   S.C. Code Ann. § 39-5-20(a) (“Unfair methods of competition     Health Promotion Specialists, LLC v. S.C. Bd.
                 and unfair or deceptive acts or practices in the conduct of any of Dentistry, 743 S.E.2d 808 (S.C. 2013).
                 trade or commerce are hereby declared unlawful.” (emphasis      (“Furthermore, by its very definition, “trade or
                 added)); S.C. Code Ann. § 39-510(b) (“Trade and commerce        commerce” involves “[e]very business
                 shall include the advertising, offering for sale, sale or       occupation carried on for subsistence or profit
                 distribution of any services and any property, tangible or      and involving the elements of bargain and sale,
                 intangible, real, personal or mixed, and any other article,     barter, exchange, or traffic.” Black’s Law
                 commodity or thing of value wherever situate, and shall include Dictionary (9th ed. 2009); see also Bretton v.
                 any trade or commerce directly or indirectly affecting the
                                                                                 State Lottery Comm’n, 673 N.E.2d 76, 78–79
                 people of this State.”).
                                                                                 (Mass App. Ct. 1996) (recognizing that “the
                                                                                 proscription in § 2 of ‘unfair or deceptive acts
                                                                                 or practices in the conduct of any trade or

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                                                                                   commerce’ must be read to apply to those acts
                                                                                   or practices which are perpetrated in a business
                                                                                   context” (citations omitted)).”)

                                                                                   All of Meta’s acts and practices plead in the
                                                                                   complaint were "perpetrated in a business
                                                                                   context" and therefore were unfair or deceptive
                                                                                   practices in the conduct of trade or commerce.
Tennessee   Tenn. Code Ann. § 47-18-104(a) (“Unfair or deceptive acts or           Tennessee is not currently represented in the
            practices affecting the conduct of any trade or commerce               State Attorneys General Coalition; therefore,
            constitute unlawful acts or practices and are Class B                  the State AGs have no response as to their
            misdemeanors. (emphasis added)); Tenn. Code Ann. § 47-18-              applicable law.
            103(20) (‘Trade,’ ‘commerce,’ or ‘consumer transaction’ means
            the advertising, offering for sale, lease or rental, or distribution
            of any goods, services, or property, tangible or intangible, real,
            personal, or mixed, and other articles, commodities, or things of
            value wherever situated.”).
Texas       Tex. Bus. & Com. Code Ann. § 17.46 9(a) (“False, misleading,           Texas is not currently represented in the State
            or deceptive acts or practices in the conduct of any trade or          Attorneys General Coalition; therefore, the
            commerce are hereby declared unlawful . . . . (emphasis                State AGs have no response as to their
            added)); Tex. Bus. & Com. Code Ann. § 17.45(6) (“‘Trade’ and           applicable law.
            ‘commerce’ mean the advertising, offering for sale, sale, lease,
            or distribution of any good or service, of any property, tangible
            or intangible, real, personal, or mixed, and any other article,
            commodity, or thing of value, wherever situated, and shall
            include any trade or commerce directly or indirectly affecting
            the people of this state.”); Tex. Bus. & Com. Code Section
            17.50(a) (“A consumer may maintain an action . . . ” (emphasis
            added)).




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Utah         Utah Code § 13-11-4(1) (“A deceptive act or practice by a             Utah is not currently represented in the State
             supplier in connection with a consumer transaction violates           Attorneys General Coalition; therefore, the
             this chapter whether it occurs before, during, or after the           State AGs have no response as to their
             transaction.” (emphasis added)); Utah Code § 13-11-3(2)(a)            applicable law.
             (“‘Consumer transaction’ means a sale, lease, assignment,
             award by chance, or other written or oral transfer or disposition
             of goods, services, or other property, both tangible and
             intangible”).
Vermont      9 V.S.A. § 2453(a) (“Unfair methods of competition in                 Vermont is not currently represented in the
             commerce and unfair or deceptive acts or practices in                 State Attorneys General Coalition; therefore,
             commerce are hereby declared unlawful.” (emphasis added));            the State AGs have no response as to their
             Vt. Stat. Ann. tit. 9, § 2451a(1) (defining “consumer” as “any        applicable law.
             person who purchases, leases, contracts for, or otherwise agrees
             to pay consideration for goods or services not for resale . . . but
             for his or her use or benefit or the use or benefit of a member of
             his or her household . . .”); Vt. Stat. Ann. tit. 9, § 2461(b)
             (providing a private cause of action to “[a]ny consumer who
             contracts for goods or services” (emphasis added)).
Virginia     Va. Code § 59.1-200 (“The following fraudulent acts or                Though there may not be money changing
             practices committed by a supplier in connection with a                hands between the SMP user and the SMP,
             consumer transaction are hereby declared unlawful[.]                  there is a monetary exchange happening with
             (emphasis added)); Va. Code § 59.1-198 (defining “consumer            advertisers and there is an exchange of valuable
             transaction” to include “[t]he advertisement, sale, lease, license    information occurring between Meta’s users
             or offering for sale, lease or license, of goods or services to be    and Meta. This concept is spelled out in the
             used primarily for personal, family or household purposes”).          Meta Terms of Service.

Washington   Wash. Rev. Code Ann. § 19.86.020 (“Unfair methods of                  See Opp. p. 34, 43, citing State Farm Fire &
             competition and unfair or deceptive acts or practices in the          Cas. Co. v. Huynh, 962 P.2d 854, 862
             conduct of any trade or commerce are hereby declared                  (Wash. Ct. App. 1998) finding that any “acts
             unlawful.” (emphasis added)); Wash. Rev. Code Ann. §                  done for the purpose of increasing profits are
             19.86.010 (“‘Trade’ and ‘commerce’ shall include the sale of          within the sphere of trade [or] commerce.”
             assets or services, and any commerce directly or indirectly

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            affecting the people of the state of Washington.”); see also      These acts do not have to apply to the
            Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co.,    representation, act, or practice at issue. See
            105 Wash. 2d 778, 793 (1986) (“[Defendant] and the [Plaintiffs]   Farrell v. Friends of Jimmy, 13 Wash. App. 2d
            were involved in a loan closing, which is a commercial            1134, 2020 WL 4195989, at *2 (2020) (“An
            transaction. As such, the transaction occurred in ‘trade or       actor can violate the CPA without any
            commerce’.” (internal citations omitted)).                        consumer or business relationship between the
                                                                              plaintiff and the actor because the ‘trade or
                                                                              commerce’ element is not limited to those
                                                                              transactions.”) (unpublished). The
                                                                              representation, act, or practice at issue only
                                                                              needs to be done within the context of trade or
                                                                              commerce, i.e. to further business or
                                                                              commercial objectives rather than non-business
                                                                              goals such as political, charitable, or personal
                                                                              purposes.

Wisconsin   Am. Orthodontics Corp. v. Epicor Software Corp., 746 F. Supp. Wis. Stat. § 100.18 is not limited to instances
            2d 996, 998 (E.D. Wis. 2010) (requiring representation to be  where the speaker has an intent to induce the
            made “with intent to induce . . . ‘the public’”).             public but also prohibits the use of a
                                                                          misrepresentation “with intent to sell,
                                                                          distribute, increase the consumption of or in
                                                                          any wise dispose of any … service, or anything
                                                                          offered by such person.” (emphasis added).




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                                          Appendix E: Restitution Requirements

                                                                                    State AG Response
State        Authority
Arizona      Ariz. Rev. Stat. Ann. § 44-1528(2) (Permitting the Court to “make      Arizona does not dispute Meta’s
             such orders or judgments as may be necessary to . . . restore to any   characterization of its law.
             person in interest any monies or property, real or personal, which
             may have been acquired by means of any practice in this article        Meta has incorrectly cited the statute. The
             declared to be unlawful, including the appointment of a receiver”).    correct cite is Ariz. Rev. Stat. Ann. § 44-
                                                                                    1528(A)(2).
California                                                                        See Opp. p. 46 explaining that that non-
             Cal. Bus. & Prof. Code § 17203 (permitting the Court to “make
                                                                                  pecuniary interests may be appropriate for
             such orders or judgments . . . as may be necessary to restore to any
                                                                                  restitution. Brown v. Google LLC, No. 20-CV-
             person in interest any money or property, real or personal, which
                                                                                  03664-LHK, 2021 WL 6064009, at *18 (N.D.
             may have been acquired by means of such unfair competition.”).
                                                                                  Cal., Dec. 22, 2021).
Colorado     Colo. Rev. Stat. Ann. § 6-1-110(1) (“The Court may make such         See Opp. p. 46, n.53 noting that Colo. Rev. Stat.
             orders or judgments . . . which may be necessary to completely       Ann. § 6-1-110(1) does not suggest that such
             compensate or restore to the original position of any person         orders or judgments are limited to the loss of
             injured by means of any such practice.”).                            money or property.
Delaware     Del. Code Ann. tit. 6, § 2523 (Proving that “after a hearing may     See Opp. p. 46, n.53 explaining that Del. Code
             grant relief by issuing temporary restraining orders, preliminary    Ann. tit. 29, § 2520(a)(5), (9) provides broader
             or permanent injunctions, and such other relief . . . which may be restitution powers than Del. Code Ann. tit. 6, §
             necessary to restore to any person in interest any money or          2523.
             property, real or personal, which may have been acquired by
             means of any practice declared to be unlawful by this
             subchapter”).
Georgia      Ga. Code Ann. § 10-1-397(b)(2)(D) (Providing that the Court          Ga. Code Ann. § 10-1-397(b)(2)(D) provides
             “may enter or grant . . . [r]estitution to any person or persons     that the court may grant “[o]ther relief as the
             adversely affected by a defendant’s actions in violation of [the     court deems just and equitable.”
             statute].”).


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Illinois   815 ILCS 505/7(a) (“The Court, in its discretion, may exercise all See Opp. p. 46, citing People v. Lann, 587
           powers necessary, including but not limited to . . . restitution.”). N.E.2d 521, 524 (Ill. App. Ct. 1992) (The remedy
                                                                                of restitution “flows from the basic policy that
                                                                                those who engage in proscribed conduct or
                                                                                practices surrender all profits flowing
                                                                                therefrom.”).
Indiana    Ind. Code Ann. § 24-5-0.5-4(c)(2) (The Court may “order the Ind. Code Ann. § 24-5-0.5-4(c)(2) does not
           supplier to make payment of the money unlawfully received from make an explicit reference to “restitution” and
           the aggrieved consumers to be held in escrow for distribution to should be broadly read to include unjust
           aggrieved consumers.”).                                              enrichment and disgorgement.
Kansas     Kan. Stat. Ann. § 50-632(c)(2) (“the court may . . . make such Measurable monetary damages do not need to
           orders or judgments as may be necessary to compensate any be established to recover damages for an
           consumer for damages sustained”).                                    aggrieved consumer. See Via Christi Reg'l Med.
                                                                                Ctr., Inc. v. Reed, 314 P.3d 852, 863–64 (Kan.
                                                                                2013).
Kentucky   Ky. Rev. Stat. Ann. § 367.200 (“The court may make such             See Opp. p. 46, referencing Haeberle v. St. Paul
           additional orders or judgments as may be necessary to restore to    & Marine Ins. Co., 769 S.W.2d 64, 67 (Ky. Ct.
           any person in interest any moneys or property, real or personal,    App. 1989) (providing that the equitable
           which may have been paid out as a result of any practice declared   doctrine of unjust enrichment “is applicable as a
           to be unlawful”).                                                   basis of restitution”) (citing 66 Am. Jur. 2d
                                                                               Restitution and Implied Contracts § 1 (“The
                                                                               purpose of a claim of restitution is not to
                                                                               compensate the plaintiff for any loss the plaintiff
                                                                               suffered but to compensate the plaintiff for the
                                                                               benefit the plaintiff conferred on the
                                                                               defendant.”)); see also Superior Steel, Inc. v.
                                                                               Ascent at Roebling’s Bridge, LLC, 540 S.W.3d
                                                                               770, 781 (Ky. 2017) (observing “Kentucky
                                                                               courts’ willingness to adopt equitable measures
                                                                               where appropriate and wholly consistent with
                                                                               the principles in the RESTATEMENT (THIRD)


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                                                                                  OF RESTITUTION AND UNJUST
                                                                                  ENRICHMENT”).

Michigan    In re White, 330 Mich. App. 476, 483, 948 N.W.2d 643, 648            See Opp. p. 46, citing Avery v. Indus. Mortg.
            (2019) (under Michigan law, restitution is the restoration of actual Co., 135 F. Supp. 2d 840, 845 (W.D. Mich.
            amounts lost by the victim).                                         2001) (holding that losses under the Mich.
                                                                                 Consumer Protection Act are not limited to
                                                                                 pecuniary in nature).
Minnesota   Damon v. Groteboer, 937 F. Supp. 2d 1048, 1070 (D. Minn.             See Opp. p. 46–47 noting that the parens
            2013) (“[T]he sole statutory remedy for deceptive trade practices patriae power of the Attorney General
            is injunctive relief.”); Dennis Simmons, D.D.S., P.A. v. Mod.        authorizes them to seek equitable restitution.
            Aero, Inc., 603 N.W.2d 336, 340 (Minn. Ct. App. 1999)                See State v. Minn. Sch. of Bus., Inc., 935
            (“[S]ubdivision 3a specifically limits its relief to those statutes  N.W.2d 124, 139 (Minn. 2019).
            referred to in subdivision 1, and the DTPA is not included in that ; Minn. Stat. § 8.31, subd. 3a (providing for
            list.”); Humphrey v. Philip Morris Inc., 551 N.W.2d 490, 496         equitable remedies including disgorgement in
            (Minn. 1996) (noting that the deceptive trade practices statute is   addition to other remedies provided by law.)
            not included in Section 8.31).                                       See also Findling v. Group Health Plan, Inc.,
                                                                                 998 N.W. 2d 1, 7 (Minn. 2023) (rejecting
                                                                                 proposition in Dennis Simmons and holding that
                                                                                 the AG’s enforcement power is not limited to §
                                                                                 8.31, but all laws related to unfair or unlawful
                                                                                 practices in business, commerce, or trade.
Missouri    Mo. Ann. Stat. § 407.100(4) (Providing that the Court “may enter Mo. Rev. Stat. § 407.100(3) (“If the court finds
            an order of restitution . . . as may be necessary to restore to any  that the person has engaged in [an unlawful
            person who has suffered any ascertainable loss, including, but not practice] it may make such orders or judgments
            limited to, any moneys or property, real or personal, which may      as may be necessary to prevent such person
            have been acquired by means of any method, act, use, practice or from employing or continuing to employ, or to
            solicitation, or any combination thereof, declared to be unlawful    prevent the recurrence of, any prohibited
            by this chapter”).
                                                                                 methods, acts, uses, practices or solicitations, or
                                                                                 any combination thereof, declared to be



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                                                                                   unlawful by this chapter.”). Such equitable relief
                                                                                   may include disgorgement.

Nebraska     Neb. Rev. Stat. Ann. § 59-1608 (“The court may make such              Neb. Rev. Stat. Ann. § 87-303 (“The court may
             additional orders or judgments as may be necessary to restore to      order such additional equitable relief as it deems
             any person in interest any money or property, real or personal,       necessary to protect the public from further
             which may have been acquired by means of any act prohibited in        violations . . . . Proof of monetary damage, loss
             the Consumer Protection Act.”).                                       of profits, or intent to deceive is not required.”).
Nevada       Nev. Rev. Stat. Ann. § 598.0971 (permitting “restitution for any      Nevada is not currently represented in the State
             money or property improperly received or obtained as a result of      Attorneys General Coalition; therefore, the State
             the violation”); Nev. Rev. Stat. Ann. § 598.0993(“the court in        AGs have no response as to their applicable law.
             which an action is brought pursuant to NRS 598.0979 and
             598.0985 to 598.099, inclusive, may make such additional orders
             or judgments as may be necessary to restore to any person in
             interest any money or property, real or personal, which may have
             been acquired by means of any deceptive trade practice which
             violates any of the provisions of NRS 598.0903 to 598.0999,
             inclusive, but such additional orders or judgments may be entered
             only after a final determination has been made that a deceptive
             trade practice has occurred”).
New Jersey   N.J. Stat. Ann. § 56:8-15 (“the Attorney General or his designee      The breadth of the language of N.J. Stat. Ann. §
             may . . . upon a finding of an unlawful practice under this act and   56:8-15 supports the ability of the Attorney
             the act . . . order that any moneys or property, real or personal,    General to pursue remedies under the doctrine
             which have been acquired by means of such unlawful practice be        of unjust enrichment.
             restored to any person in interest, except that if any moneys or
             property, real or personal, have been acquired by means of an
             unlawful practice perpetrated against a senior citizen, the amount
             of moneys or property, real or personal, ordered restored shall be
             twice the amount acquired”).




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New York       N.Y. Gen. Bus. Law § 349 (permitting court to “enjoin such         The “specific statutory language limiting relief”
               unlawful acts or practices and to obtain restitution of any moneys that Meta cites on page 33 of its Reply is not
               or property obtained directly or indirectly by any such unlawful   present in N.Y. Exec. Law § 63(12), which
               acts or practices”).                                               authorizes relief, including restitution,
                                                                                  independently of N.Y. Gen. Bus. Law § 349.
                                                                                  See Opp. p. 46, explaining that N.Y. Exec. Law
                                                                                  § 63(12) grants the Attorney General
                                                                                  unqualified restitution authority.
North Dakota   N.D. Cent. Code Ann. § 51-15-07 (“The court may make an order See Opp. p. 46, noting that Meta omitted
               or judgment . . . which may be necessary to restore to any person language from N.D. Cent. Code Ann. § 51-15-
               in interest any money, or property that may have been acquired by 07 which provides “The court may make an
               means of any practice in this chapter.”)                           order or judgment as may be necessary to
                                                                                  prevent the use or employment by a person of
                                                                                  any unlawful practices, or which may be
                                                                                  necessary to restore to any person in interest
                                                                                  any money, or property that may have been
                                                                                  acquired by means of any practice in this
                                                                                  chapter.” (emphasis added).
Pennsylvania   73 Pa. Stat. Ann. § 201-4.1 (“[T]he court may in its discretion    See Opp. p. 46 citing Commonwealth v.TAP
               direct that the defendant or defendants restore to any person in   Pharm. Prods., Inc., 885 A.2d 1127, 1139 (Pa.
               interest any moneys or property, real or personal, which may have Commw. Ct. 2005), which provides there is no
               been acquired by means of any violation of this act, under terms   requirement that damages “arise from payments
               and conditions to be established by the court.”)                   made directly to a defendant.”
Rhode Island   6 R.I. Gen. Laws Ann. § 6-13.1-5(c) (“The court may make any       See Opp. p. 46, explaining that R.I. Gen. Laws
               additional orders or judgments that may be necessary to restore to § 6-13.1-5(a) authorizes the attorney general to
               any person in interest any moneys or property, real or personal,   bring an action “to seek any other relief that
               that may have been acquired by means of any practice in this       may be appropriate.”
               chapter declared to be unlawful . . . .”)
South          S.C. Code Ann. § 39-5-50(b) (“The court may make such              The standard of proof for damages is higher in
Carolina       additional orders or judgments as may be necessary to restore to   actions brought by private plaintiffs than in
               any person who has suffered any ascertainable loss by reason of    proceedings brought by the Attorney General.
               the use or employment of such unlawful method, act or practice,    State ex rel. Wilson v. Ortho-McNeil-Janssen

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             any moneys or property, real or personal, which may have been         Pharm., Inc., 777 S.E.2d 176, 193 (S.C. 2015).
             acquired by means of any practice declared to be unlawful in this     Thus, the Attorney General is not required to
             article . . . .”).                                                    show any specific or actual damages.
Virginia     Va. Code Ann § 59.1-205 (The “court may make such additional          See Opp. p. 46 n.55, noting that Va. Code §
             orders or decrees as may be necessary to restore to any               59.1-205 provides restitution for intangible
             identifiable person any money or property, real, personal, or         property.
             mixed, tangible or intangible, which may have been acquired
             from such person by means of any act or practice declared to be
             unlawful in § 59.1-200 or 59.1200.1 . . . .”)
Washington   Wash. Rev. Code Ann. § 19.86.080(2) (“The court may make              See State v. LG Electronics, Inc., 340 P.3d 915,
             such additional orders or judgments as may be necessary to            924–25 (Wash. App. 2014). Whereas damages
             restore to any person in interest any moneys or property, real or     measure a plaintiff’s loss, the purpose of
             personal, which may have been acquired by means of any act            restitution is to measure the defendant’s gain
             herein prohibited or declared to be unlawful . . . .”).               and disgorge them of such.
Wisconsin    Wis. Stat. § 100.18(11)(d) (“The court may in its discretion, prior   Wisconsin does not dispute Meta’s
             to entry of final judgment, make such orders or judgments as may      characterization of its law.
             be necessary to restore to any person any pecuniary loss suffered
             because of the acts or practices involved in the action, provided
             proof thereof is submitted to the satisfaction of the court.”)




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